                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

JOHN DOE,                                        )
                                                 )
      Plaintiff,                                 )
                                                 )      Case No. 3:19-cv-38
v.                                               )
                                                 )
THE RECTOR AND VISITORS                          )
OF THE UNIVERSITY OF VIRGINIA,                   )
et al.,                                          )
                                                 )
      Defendants.                                )

                       SECOND AFFIDAVIT OF JOHN DOE

      I, John Doe, being first duly sworn, state as follows:

       1.    I am John Doe.

       2.    In my fourth year of college at the University of Virginia, on August 8,
2018, the University's Deputy Title IX Coordinator sent a Notice of Investigation to me
via e-mail.

       3.    The e-mail showing all of the documents I received at the issuance of the
Notice of Investigation is attached as Exhibit 1 to this Affidavit.

             a.     The Notice of Investigation is attached as Exhibit 2 to this Affidavit.

             b.     The Policy on Sexual and Gender-Based Harassment and Other
                    Forms of Interpersonal Violence is attached as Exhibit 3 to this
                    Affidavit.

             c.     The Procedures for Reports Against Students (Investigating and
                    Resolving Reports of Sexual and Gender-Based Harassment and
                    Other Forms of Interpersonal Violence Committed by Students
                    Under the Policy), is attached as Exhibit 4 to this Affidavit.

             d.     The Resource and Reporting Guide for Students (Policy on Sexual
                    and Gender-Based Harassment and Other Forms of Interpersonal
                    Violence) is attached as Exhibit 5 to this Affidavit.

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               e. The Notice of Investigation also attached an infographic and a list of
                  potential advisors which are attached as Exhibits 6 and 7 to this
                  Affidavit.

       4.     I never received any amended Notice of Investigation or any other notice
concerning the allegations and informing me of other actions the University could take to
investigate or discipline me.

      5.    It is my understanding that the University convened an Evaluation Panel
meeting on August 6, 2018, pursuant to its procedures.

       6.     The University never notified me that I was the subject of any remedial or
protective measures. Beginning from August 2018 through commencement exercises on
the weekend of May 18, 2019, I was never restricted in any way from participating in any
University educational or other program; I had free access to University owned and
controlled property; and, there were no restrictions placed on my contacts or interactions
with any faculty, staff, other students, or third parties. I participated fully in all aspects of
University life.

      7.     Under the Policy, I am entitled to have an advisor. I hired Rhonda
Quagliana to act as my advisor.

       8.     On August 15, 2018, Mr. John Flood ("Mr. Flood") e-mailed me and
requested that I participate in an interview. See Exhibit 8 to this Affidavit.

       9.     The University's Title IX Policy provides that as the Respondent, I was not
required to participate in an investigation, and that my decision not to participate could
not be held against me. On the advice of my advisor and considering that the
Complainant had filed a police report against me, I chose not to provide an interview at
the time of Mr. Flood's request.

       10.    On October 8, 2018, Mr. Flood sent an e-mail to me informing me of a
delay in the distribution of the Draft Investigation Report. See Exhibit 9 to this Affidavit.
This was the only notice of delay I received.

     11. From August 17, 2018, to October 12, 2018, Mr. Flood interviewed the
Complainant and three witnesses.

       12.      On December 18, 2018, Ms. Emily Babb ("Ms. Babb") issued the Draft
Investigation Report. See Exhibit 10 to this Affidavit.




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       13. Ms. Babb gave a deadline of January 7, 2019, for the Complainant and me
to respond to the information contained in the Draft Investigation Report.

       14. I received the Draft Investigation Report just before Christmas. I was out of
the country with my family. I requested and received an extension. See Exhibit I 0 to this
Affidavit.

       15.    Having received the Draft Investigation Report, including an interview of
the Complainant, I then was able to understand and dispute the allegations against me. On
January 25, 2019, I submitted my response to the Draft Investigation Report and an
Affidavit in which I denied under oath that I sexually assaulted the Complainant. Mr.
Flood confirmed receipt of my response and Affidavit. See Exhibit 11 to this Affidavit.

       16. While Mr. Flood stated that the Complainant did not respond to the Draft
Investigation Report, Mr. Flood shared my January 25, 2019, response with her.

     17.    On February 7, 2019, Mr. Flood shared with me, the Complainant's
comments to my response. See Exhibit 12 to this Affidavit.

     18. Mr. Flood granted permission for me to further respond to the
Complainant's comments by February 13, 2019. See Exhibit 12 to this Affidavit.

      19.   On February 13, 2019, I submitted my response to Ms. Roe's response.
My February 13, 2019 response included written comments and an additional
Supplemental Affidavit. See Exhibit 13 to this Affidavit.

       20.   On February 13, 2019, Mr. Flood confirmed receipt of my February 13,
2019, response and Affidavit. See Exhibit 14.

        21.   I did not receive any communications or any notices from anyone within
the Title IX office or any other University official or administrator from February 14,
2019, to May 1, 2019, regarding the matter.

       22. By February 13, 2019, I understood that the investigation part of the
process was complete because I did not receive any notification that the investigation was
being continued.

      23.    During the months after February 13, 2019, I focused on completing the
course-work for my degree, which I did.

      24.    On May 1, 2019, Ms. Babb notified me by e-mail that my degree would be
withheld. See Exhibit 15 to this Affidavit.

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      25.    The University's graduation ceremonies occurred on May 18 and May 19,
2019. On May 18 and 19, 2019, I attended the University's commencement exercises
with my classmates.

      26.    I was no longer enrolled or registered for classes by May 18, 2019.

      27.    I had met all degree requirements by the time of the graduation ceremonies,
and had no misconduct proceedings pending with the exception of the investigation that
was the subject of the August 8, 2018, Notice of Investigation.

       28.     On May 21, 2019, Mr. Flood e-mailed me a one-day notification of the
release of the Final Investigation Report.

       29.     On May 22, 2019, the Final Investigation Report was issued. On May 22,
2019, I received a Final Investigation Report finding me not responsible for an alleged
sexual assault at a restaurant off campus, but finding me responsible for an alleged sexual
assault in the form ofnonconsensual vaginal penetration in my off-campus apartment
where I was living at the time of the alleged incident.

     30.    The Final Investigation Report includes in full the Complainant's
comments regarding my January 25, 2019, response.

       31.   The Final Investigation Report does not refer to, or include, my February
13, 2019, Supplemental Affidavit and response.

       32.     The Final Investigation Report contains the Complainant's cellular
telephone records, which she e-mailed to Mr. Flood on April 29, 2019. See Exhibit 16 to
this Affidavit.

       33.     The Final Investigation Report contains the transcript of an interview of a
friend of the Complainant that Mr. Flood conducted on April 30, 2019. The friend was
previously identified in the Draft Investigation Report. The witness had been identified in
the Draft Investigation Report on Page 26: "[name redacted] stated that Complainant
contacted a best/friend classmate from [name redacted High School], [name redacted] to
come to the Medical Center to drive [Complainant] home."

       34.   Until the Final Investigation Report was issued, I was not aware of the
information Mr. Flood gathered on April 29, 2019, and April 30, 2019. I had been
provided with no information that the investigation was ongoing. Ms. Babb did not
inform me in her e-mail on May 1, 2019, that additional information was being gathered
to which I would have no opportunity to respond.


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        35.    On May 28, 2019, I responded to the Final Investigation Report. See
 Exhibit J7 to this Affidavit.

        36. I was notified on June 5, 2019, that the University intended to convene a
 Review Panel hearing that would be held on July I, 2019. See Exhibit 18 to this
 Affidavit.

       3 7. l have done nothing and did not encourage any conduct to deliberately or
even indirectly, delay the resolution of this case.

        3 8. I was in constant communication with rrty attorney following my receipt of
 the Final Investigation Report, and understood that she was in discussions with
University General Counsel concerning how to address these issues, and was being told
that the University was insisting on moving forward with a Review P11t1el Hearing, where
I was going to have to overcome the investigator's finding of responsibility against me or
face sanctions, including expulsi<m.
        39. It is my understat\ding that these discussions were ongoing until it became
evident that I had no recourse, ·except to file suit. It was a difficult decision to make to
file suit against my University. Having to file suit has caused me unbelievable anxiety
and expense as I have fried to·deal witii the consequences of these events.

       40.    Among other things, I was afraid that my name might be used or my
identity revealed, ~er damaging my reputation.

      The l(bove statements are true and correct to the best of my knowledge and belief.




                                                  John Doe
s~ OF Vir~ni °'-
QD'JCOUNTY F              CJia r/o l/eg;;/Uz
        The   for~going affidavit was subscribed and sworn to before me this /JI!iay of
    :LJ1\y         , 201]_, by John Doe.                                                               •....................
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                                                                                                             Exhibit 1


Diane Mathews

Subject:                           FW: [EXTERNAL] Fwd: Confidential University Communication--Notice of Investigation
Attachments:                       noname.dat; Title IX Policy (July 2017).pdf; Appendix A Student Procedures.pd!;
                                   Appendix A-1 Student Resource Guide.07. 18. 17.pdf; Student lnfographic.pdf; List of
                                   Advisors_Respondentpdf; NOi                                 ; image003.png



----------Forwarded message---------
From: Haynes, Akia A. (aah6n) <aah6n@virginia.edu>
Date: Wed, Aug 8, 2018 at 9 :4 7 AM
Subject: Confidential University Communication--Notice of Investigation
To:
CC: Bassett, Kimberley C (kcb6j) <kcb6j@virginia.edu>, Title IX Coordinator <titleixcoordinator@virginia.edu>, Groves,
Allen W. (awg8vd) <awg8vd@virginia.edu>, Flood, John J. (jjf3y) <jjf3y@virginia.edu>




Good morning and I hope this message finds you well. As discussed during our phone call yesterday, our office typically
provides this information in person, However, as you are not currently in Charlottesville, I am writing to provide you
with the following information.

Please see enclosed the Notice of Investigation that the University is opening a formal investigation under the
University's Policy on Sexual and Gender-Based Harassment and Other Forms of Interpersonal Violence ("the Title IX
Policy") in which you have been identified as the Respondent. I have attached a written Notice which outlines the
alleged conduct, potential policy violations, and explains your rights and responsibilities under the Title IX Policy. John
Flood, Title IX Investigator, has been assigned to investigate this matter and is copied on this message. If you believe
that Mr. Flood has an actual conflict of interest, please notify me or the Title IX Coordinator in writing within 72 hours of
the date of this notice to challenge his participation.

Additionally, I have included the Title IX Policy, Appendix A: Student Procedures, Appendix Al: Student Resource Guide,
the Student lnfographic, and an Advisor list. These documents provide additional resources and information about the
process. As noted yesterday, Dean Bassett is included on this message in her role as support for you during this
process. If you need any support resources during this process such as access to counseling services, academic
accommodations, and the like, please contact Dean Bassett who can assist with this. She will also be notified at critical
junctures so that she can offer support. As Dean Bassett is not a confidential resource and does not serve as an advisor,
you may select an advisor to assist you during this process.

If you have any questions about the process, please do not hesitate to contact me via email or phone if you have any
additional questions or concerns. You should expect to receive an email from Mr. Flood about next steps shortly as he
will serve as your primary point of contact during the investigation.

Sincerely,

Akia

Akia A. Haynes
Deputy Title IX Coordinator
[cid :image001.png@01CF3171.F298CF40]
O'Neil Hall

                                                              1

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                                                                          Exhibit 1

445 Rugby Road
Post Office Box 400211
Charlottesville, VA 22904-4211
Phone: (434) 297-7988
aah6n@virginia.edu<mailto:lep3f@virginia.edu>
Pronouns: she, her, hers




                                                2


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                                                lJNivERSTIYo/VIRGINIA
                          OFFICE FOR EQUAL OPPORTUNITY AND CIVIL RIGHTS
        Title IX Office, O'Neil Hall, Terrace Level, Room 037 • 445 Rugby Road· Charlottesville, VA22904 • (434) 297-7988



                                                      August 8, 2018

 Via Hand Delivery and Electronic Mail




          RE:       Notice of Investigation

 Dear

 I am writing to inform you that the University of Virginia ("University") has initiated a Title
 IX investigation in a matter involving you. This letter includes information about the nature of
 the reported incident, the potential policy violations at issue, the procedures that apply to this
 investigation, the assigned investigator, expectations and responsibilities of the parties, and
 other information about the investigative process. Please note that you are considered to be the
 Respondent in this matter.

 Nature of Report, Potential Policy Violations, and Standard of Review

 On August 2, 2018, the University received a report from the Charlottesville Police Department
 that alleged that in the evening of April 14, 2017 or early morning of April 15, 2017, you sexually
 assaulted                  who is considered to be the Complainant in this matter, by penetrating
 her vagina with your penis without her consent. On August 6, 2018, the University convened an
 Evaluation Panel and performed an assessment of all reported and available information
 consistent with Section V of the Procedures for Reports Against Students. As a result of that
 meeting, the Title IX Coordinator is initiating Formal Resolution.

 This report raises potential policy violations under the University's Policy on Sexual and Gender-
 Based Harassment and Other Forms of Interpersonal Violence ("the Title IX Policy") for: Sexual
 Assault and Sexual Harassment. Other potential violations of the Title IX Policy, the Preventing
 and Addressing Discrimination and Harassment Policy ("PADH Policy"), and/or the University's
 Standards of Conduct may be identified during the investigation of the reported incident. Should
 additional potential policy violations be identified, an Amended Notice of Investigation will be
 issued to both parties, and both parties will be provided an opportunity to respond.

 Where the Title IX Coordinator determines that a single investigation is appropriate, the
 determination of responsibility for the violation of University policy will be evaluated under the
 applicable policy (i.e., the Title IX Policy, the PADH Policy, and/or the Standards of Conduct), but
 the investigation and resolution will be conducted in accordance with the Procedures for Reports
 Against Students, Appendix A ("the Procedures"), including the requirement for use of the
 preponderance of the evidence standard. This means that all allegations, including allegations of

                                                 Mission
  Ensuring equal opportunity and protecting the civil rights of all University community members through
                  proactive outreach, education, and effective response and resolution.

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 any Standards of Conduct violations in this process, will be decided using the preponderance of
 the evidence (i.e., what more likely than not occurred) standard. See Section VI (A)(l)(b} & (n) of
 the Procedures.

 Procedures

 The reported incident, which allegedly occurred on or about April 14-15, 2018, will be
 investigated and resolved under the University's Formal Resolution option, which is outlined in
 Section VI (A} of the Procedures. The University seeks to investigate and resolve matters
 pursuant to the Procedures within 60 calendar days of the date of this notice. Should extensions
 of time need to be granted for good cause shown, you will be notified in writing. I have enclosed
 a copy of the Title IX Policy, the Procedures, and a Resource Guide outlining University and
 community resources available to students. Should you have any questions about these
 materials, you may contact me or the investigator assigned to this matter.

 Procedure for Requesting Reasonable Accommodations

 If you are an individual with a disability and need a reasonable accommodation in order to fully
 and effectively participate in the University's Title IX formal investigation and resolution process,
 please notify me as soon as possible. I will work with the University's Student Disabilities Access
 Center (SDAC} to ensure reasonable accommodations are provided. While such requests may be
 made at any point during the process, individuals are strongly encouraged to make their requests
 known at the earliest possible time and, if possible, five business days in advance of an
 anticipated activity where the accommodation is needed (such as an interview or hearing).

 Assigned Investigator

 I have designated John Flood, Title IX Investigator, to investigate this matter. If you believe Mr.
 Flood has an actual conflict of interest, please notify me in writing, by email, within 72 hours of
 the date of this notice to challenge his participation. The email must contain specific grounds for
 the challenge. Upon receipt of any challenge, I will make a determination whether there is
 sufficient information to find a conflict of interest and notify you of my decision in writing, by
 email, with the name of a new investigator if I determine that a conflict of interest exists.

 Overview of Investigative Process

 During the investigation, you and Complainant will have an equal opportunity to be heard, to
 submit information and corroborating evidence, to identify witnesses who may have relevant
 information, and to submit any questions that you believe should be directed by the investigators
 to the other parties or to any witness. The investigator will notify and seek to meet separately
 with you, Complainant, and third-party witnesses and will seek to gather other relevant and
 available evidence and information, including electronic or other records of communications
 between the parties or witnesses (via voice-mail, text message, email, and social media sites},
 photographs (including those stored on computers and smartphones}, and medical records

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  (subject to the written consent of the applicable party). In preparation for the investigation,
  please preserve any potentially relevant evidence in any form.

  Neither you nor Complainant is required to participate in the investigation or any form of
  resolution under the Title IX Policy or the Procedures. As provided in the Title IX Policy, you are
  presumed to be not responsible; however, this presumption may be overcome where the Review
  Panel concludes by a preponderance of the evidence (i.e., what more likely than not occurred)
  that there is sufficient evidence to determine that you violated the Title IX Policy, the PADH
  Policy, and/or the Standards of Conduct. Mr. Flood will not draw any adverse inference from a
  decision by you or Complainant not to participate in the investigation. The investigation and
  formal resolution, however, may proceed, and a finding of responsibility and imposition of any
  sanction(s) may occur with or without such participation.

  Expectations and Responsibilities

  As set forth in Section Ill of the Procedures, you and Complainant can expect the following during
  the University's investigation and resolution of the reported incident:

     A. Prompt and equitable resolution of allegations of Prohibited Conduct;
     B. Privacy in accordance with the Policy and any legal requirements;
     C. Reasonably available interim remedial measures, as described in the Procedures and
           Resource and Reporting Guide for Students;
      D. Freedom from retaliation for making a good faith report of Prohibited Conduct or
           participating in any proceeding under the Title IX Policy;
      E. The responsibility to refrain from Retaliation directed against any person for making a
           good faith report of Prohibited Conduct or participating in any proceeding under the Title
           IX Policy;
      F. The responsibility to provide truthful information in connection with any report,
           investigation, or resolution of Prohibited Conduct under the Title IX Policy;
     G. The opportunity to articulate concerns or issues about proceedings under the Title IX
           Policy or the Procedures;
      H. Timely notice of any meeting or proceeding at which your presence is contemplated by
           the Procedures;
      I.   The opportunity to choose an advisor, including the right to have that advisor attends any
           meeting or proceeding at which the party's presence is contemplated by the Procedures;
     J. This written notice of investigation, which includes notice of the potential policy violations
           and nature of the alleged Prohibited Conduct;
      K. The opportunity to challenge the investigator or any member of the Review Panel for bias
           or conflict of interest;



                                                    3


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        L. The opportunity to offer information, present evidence, and identify witnesses during an
           investigation;
        M. The opportunity to be heard, orally and/or in writing, as to the determination of a policy
           violation and the imposition of any sanction(s);
        N. Timely and equal access to any information that will be used during the Formal Resolution
           proceedings and related meetings;
        0. Reasonable time to prepare any response contemplated by the Procedures;
        P. Written notice of any extension of time frames for good cause; and
        Q. Written notice of the outcome of any Formal Resolution proceedings, including the
           determination of a policy violation, imposition of any sanction(s), and the rationale for
           each.

  Prohibition Against Retaliation

 The University takes every report of Prohibited Conduct seriously. Retaliation is strictly
 prohibited and constitutes a violation of University policy. Retaliation means any adverse action
 taken against a person for making a good faith report of Prohibited Conduct or participating in
 any Title IX proceeding. Retaliation includes threatening, intimidating, harassing, coercing or any
 other conduct that would discourage a reasonable person from engaging in activity protected
 under the Title IX Policy. Please immediately report any concerns about retaliation to me.

  You should expect a direct communication from Mr. Flood about next steps very soon. The
  investigator will be your primary point of contact during the investigation. However, please feel
  free to contact me at (434) 297-7643 or at ecb6y@virginia.edu if you have any questions or
  concerns.

  Sincerely,




  Emily Babb
  Assistant Vice President for Title IX Compliance/Title IX Coordinator

  Enclosures (5)

  The Title IX Policy
  Appendix A: Procedures for Reports Against Students
  Appendix A-1: Resource and Reporting Guide for Students
  Path of a Report
  Advisor Information

  cc:      John Flood, Title IX Investigator; Allen Groves, University Dean of Students

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   POLICY ON SEXUAL AND GENDER-BASED HARASSMENT
                  AND OTHER FORMS
             OF INTERPERSONAL VIOLENCE




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 Date:                               07/01/2015

 Policy ID#                         HRM-041

  Status:                           Final

  Policy Type:                      University

  Contact Office:                   Equal Opportunity and Civil Rights

  Oversight Executive: President of the University

  Applies to:                       Academic Division (including all off-site locations) and Medical Center

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  I.        STATEMENT OF POLICY

  The University of Virginia, consisting of its eleven Schools in Charlottesville, its Medical Center,
  and all Academic Centers, wherever located (collectively, the "University"), is an institution built
  upon honor, integrity, trust, and respect. Consistent with these values, the University is committed
  to providing a safe and non-discriminatory learning, living, and working environment for all
  members of the University community. The University does not discriminate on the basis of sex
  or gender in any of its education or employment programs and activities. To that end, this policy
  prohibits specific forms of behavior that violate Title IX of the Education Amendments of 1972
  ("Title IX"); Title VII of the Civil Rights Act of 1964 ("Title VII"); and/or the Virginia Human
  Rights Act. Such behavior also requires the University to fulfill certain obligations under the
  Violence Against Women Reauthorization Act of 2013 ("VAWA'') and the Jeanne Clery
  Disclosure of Campus Security Policy and Campus Crime Statistics Act ("Clery Act").

  The University prohibits Sexual Assault, Sexual Exploitation, Intimate Partner Violence, Stalking,
  Sexual or Gender-Based Harassment, Complicity in the commission of any act prohibited by this
  policy, and Retaliation against a person for the good faith reporting of any of these forms of
  conduct or participation in any investigation or proceeding under this policy (collectively,


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  "Prohibited Conduct"). These forms of Prohibited Conduct are unlawful, undermine the character
  and purpose of the University, and will not be tolerated.

  The University adopts this policy with a commitment to: (1) eliminating, preventing, and
  addressing the effects of Prohibited Conduct; (2) fostering the University's Community of Trust,
  in which Prohibited Conduct is not tolerated; (3) cultivating a climate where all individuals are
  well-infmmed and supported in repo1ting Prohibited Conduct; (4) providing a fair and impartial
  process for all parties; and (5) identifying the standards by which violations of this policy will be
  evaluated and disciplinary action may be imposed. Employees or Students who violate this policy
  may face disciplinary action up to and including te1mination or expulsion. The University will
  take prompt and equitable action to eliminate Prohibited Conduct, prevent its recurrence, and
  remedy its effects. The University conducts ongoing prevention, awareness, and training programs
  for Employees and Students to facilitate the goals of this policy.

  It is the responsibility of every member of the University community to foster an environment free
  of Prohibited Conduct. All members of the University community are encouraged to take
  reasonable and prudent actions to prevent or stop an act of Prohibited Conduct. The University
  will support and assist community members who take such actions.

  This policy applies to all repmts of Prohibited Conduct occurring on or after the effective date of
  this policy. Where the date of the Prohibited Conduct precedes the effective date of this policy,
  the definitions of misconduct in existence at the time of the alleged incident(s) will be used. The
  procedures under this policy, however, will be used to investigate and resolve all repo1is made on
  or after the effective date of this policy, regardless of when the incident(s) occurred.


  II.    TO WHOM TIIlS POLICY APPLIES

  This policy applies to Students who are registered or enrolled for credit- or non-credit-bearing
  coursework ("Students"); University employees, consisting of all full-time and part-time faculty,
  University Staff, Medical Center employees and classified staff, wage (including temps),
  professional research staff, and post-doctoral fellows ("Employees"); and contractors, vendors,
  visitors, guests or other third paiiies ("Third Parties"). This policy pe1iains to acts of Prohibited
  Conduct committed by or against Students, Employees and Third Parties when:

              (1) the conduct occurs on University Grounds or other property owned or controlled
                  by the University;

              (2) the conduct occurs in the context of a University employment or education program
                  or activity, including, but not limited to, University-sponsored study abroad,
                  research, on-line, or internship programs; or

              (3) the conduct occurs outside the context of a University employment or education
                  program or activity, but has continuing adverse effects on or creates a hostile
                  environment for Students, Employees or Third Parties while on University Grounds
                  or other property owned or controlled by the University or in any University
                  employment or education program or activity.


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  The University's Office for Equal Oppmtunity and Civil Rights ("EOCR") administers two
  separate policies that address other forms of discrimination and harassment: (I) the Preventing and
  Addressing Discrimination and Harassment Policy (the "PADH Policy"), and (2) the Preventing
  and Addressing Retaliation Policy (together, the "EOCR Policies"). This policy supersedes any
  conflicting provisions contained in the EOCR Policies. Where Prohibited Conduct violates this
  policy and also violates either or both of the EOCR Policies, the University's response will be
  governed by the procedures referenced in this policy. Questions about which policy applies in a
  specific instance should be directed to the University's Title IX Coordinator at (434) 297-7988.


  III.   APPLICABLE PROCEDURES UNDER THIS POLICY

  The specific procedures for repmting, investigating, and resolving Prohibited Conduct are based
  upon the nature of the Respondent's relationship to the University (Student, Employee, or Third
  Patty). Each set of procedures referenced below is guided by the same principles of fairness and
  respect for Complainants and Respondents. "Complainant" means the Student, Employee or Third
  Party who presents as the victim of any Prohibited Conduct under this policy, regardless of whether
  that person makes a repmt or seeks action under this policy. "Respondent" means the Student,
  Employee or Third Patty who has been accused of violating this policy.

  A Student or Employee determined by the University to have committed an act of Prohibited
  Conduct is subject to disciplinary action, up to and including separation from the University. Third
  Parties who commit Prohibited Conduct may have their relationships with the University
  te1minated and/or their privileges of being on University premises withdrawn.

  The procedures referenced below provide for prompt and equitable response to repmts of
  Prohibited Conduct. The procedures designate specific timeframes for major stages of the process
  and provide for thorough and impattial investigations that afford all patties notice and an
  opportunity to present witnesses and evidence and to view the information that will be used in
  determining whether a policy violation has occurred. The University applies the Preponderance
  of the Evidence standard when determining whether this policy has been violated. "Preponderance
  of the Evidence" means that it is more likely than not that a policy violation occmTed.

         A. WHERE THE RESPONDENT IS A STUDENT

          The procedures for responding to reports of Prohibited Conduct committed by Students are
          detailed in Appendix A: Investigating and Resolving Repmts of Sexual and Gender-Based
          Harassment and Other Forms of Interpersonal Violence Committed by Students.

          B. WHERE THE RESPONDENT IS AN EMPLOYEE

          The procedures for responding to reports of Prohibited Conduct committed by Employees
          are detailed in Appendix B: Investigating and Resolving Repo1ts of Sexual and Gender-
          Based Harassment and Other Forms oflnterpersonal Violence Committed by Employees.



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         C. WHERE THE RESPONDENT IS BOTH A STUDENT AND AN EMPLOYEE

                 •   The Student-Respondent procedures (Appendix A) will apply ifthe Respondent
                     is a full-time Student but not a full-time Employee;
                 •   The Employee-Respondent procedures (Appendix B) will apply if the
                     Respondent is a full-time Employee but not a full-time Student; or
                 •   If there is a question as to the predominant role of the Respondent, the
                     University's Title IX Coordinator will determine which of the procedures
                     applies based on the facts and circumstances (such as which role predominates
                     in the context of the Prohibited Conduct). Further, where a Respondent is both
                     a Student and an Employee, the Respondent may be subject to any of the
                     sanctions applicable to Students or Employees.

         D. WHERE THE RESPONDENT IS A THIRD PARTY

         The University's ability to take appropriate corrective action against a Third Party will be
         determined by the nature of the relationship of the Third Party to the University. The Title
         IX Coordinator will determine the appropriate manner of resolution consistent with the
         University's commitment to a prompt and equitable process consistent with federal law,
         federal guidance, and this policy.


  IV.    TITLE IX COORDINATOR

  Under Title IX:

         No person in the United States shall, on the basis of sex, be excluded from
         patiicipation in, be denied the benefits of, or be subjected to discrimination under
         any education program or activity receiving federal financial assistance.

  The Title IX Coordinator is charged with monitoring the University's compliance with Title IX;
  ensuring appropriate education and training; coordinating the University's investigation, response,
  and resolution of all reports under this policy; and ensuring appropriate actions to eliminate
  Prohibited Conduct, prevent its recurrence, and remedy its effects. The Title IX Coordinator is
  available to meet with any Student, Employee, or Third Party to discuss this policy or the
  accompanying procedures. The University has also designated a Deputy Title IX Coordinator who
  may assist the Title IX Coordinator in the discharge of these responsibilities. The Title IX
  Coordinator and Deputy Title IX Coordinator receive appropriate training to discharge their
  responsibilities.

  Concerns about the University's application of Title IX, VA WA, Title VII, the Clery Act, or the
  Virginia Human Rights Act may be addressed to the Title IX Coordinator; the United States
  Department of Education, Clery Act Compliance Division (at clery@ed.gov); the United States
  Department of Education, Office for Civil Rights (at OCR@ed.gov or (800) 421-3481 ); and/or the
  Equal Employment Oppotiunity Commission (at info@eeoc.gov or (800) 669-4000).


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  The Title IX Coordinator and Deputy Title IX Coordinator can be contacted by telephone, email,
  or in person during regular office homs:

                    Emily Babb, Assistant Vice President for Title IX Compliance
                    Title IX Coordinator
                    O'Neil Hall, Terrace Level, Room 037
                    ecb6y@virginia.edu or titleixcoordinator@virginia.edu-
                    ( 434) 297-7643

                    Akia Haynes, Deputy Title IX Coordinator
                    Title IX Office
                    O'Neil Hall, Terrace Level, Room 036
                    (434) 924-1696
                    aah6n@virginia.edu




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  V.     RESOURCES AND REPORTING OPTIONS

  The University offers a wide range of resources for all Students and Employees to provide support
  and guidance in response to any incident of Prohibited Conduct. For comprehensive information
  on accessing University and community resources, including emergency and ongoing assistance;
  health, mental health, and victim-advocacy services; options for reporting Prohibited Conduct to
  the University and/or law enforcement; and available support with academics, housing, and
  employment:

                •    Students should refer to the Student Resource Guide (Appendix A-1);
                     Employees should refer to the Employee Resource Guide (Appendix B-1 ); and

                 •   Third Parties should contact the Title IX Coordinator to discuss available
                     University and/or community resources and reasonably available assistance.

         A. REMEDIAL AND PROTECTIVE MEASURES

         The University offers a wide range of resources for Students and Employees, whether as
         Complainants or Respondents, to provide support and guidance throughout the initiation,
         investigation, and resolution of a report of Prohibited Conduct. The University will offer
         reasonable and appropriate measures to protect a Complainant and facilitate the
         Complainant's continued access to University employment or education programs and
         activities. These measures may be both remedial (designed to address a Complainant's
         safety and well-being and continued access to educational opportunities) or protective
         (involving action against a Respondent). Remedial and protective measures, which may
         be temporary or permanent, may include no-contact directives, residence modifications,
         academic modifications and support, work schedule modifications, interim disciplinary
         suspension, suspension from employment, and pre-disciplinary leave (with or without
         pay). Remedial measures are available regardless of whether a Complainant pursues a
         complaint or investigation under this policy. The University will maintain the privacy of
         any remedial and protective measures provided under this policy to the extent practicable
         and will promptly address any violation of the protective measures. The Title IX
         Coordinator has the discretion to impose and/or modify any interim measure based on all
         available information, and is available to meet with a Complainant or Respondent to
         address any concerns about the provision of interim measures.

         The University will provide reasonable remedial and protective measures to Third Paities
         as appropriate and available, taking into account the role of the Third Party and the nature
         of any contractual relationship with the University.

         B. PRIVACY AND CONFIDENTIALITY

         The University is committed to protecting the privacy of all individuals involved in the
         investigation and resolution of a report under this policy. The University also is committed
         to providing assistance to help Students, Employees and Third Patties make informed
         choices. With respect to any report under this policy, the University will make reasonable

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       efforts to protect the privacy of participants, in accordance with applicable state and federal
       law, while balancing the need to gather information to assess the rep01t and to take steps
       to eliminate Prohibited Conduct, prevent its recurrence, and remedy its effects.

       Privacy and confidentiality have distinct meanings under this policy.

       Privacy: Privacy means that information related to a rep01t of Prohibited Conduct will be
       shared with a limited circle of University Employees who "need to know" in order to assist
       in the assessment, investigation, and resolution of the report. All Employees who are
       involved in the University's response to repo1ts of Prohibited Conduct receive specific
       training and guidance about sharing and safeguarding private information in accordance
       with state and federal law.

       The privacy of Student education records will be protected in accordance with the Family
       Educational Rights and Privacy Act ("FERPA"), as outlined in the University's FERPA
       policy. The privacy of an individual's medical and related records generally is protected
       by the Health Insurance Portability and Accountability Act ("HIP AA"), excepting health
       records protected by FERPA and by Virginia's Health Records Privacy Act, Va. Code§
       32.1-127.1 :03. Access to an Employee's personnel records may be restricted in accordance
       with the Virginia Freedom of Information Act, and, where applicable, Department of
       Human Resources Management ("DHRM") Policy 6.05 Personnel Records Disclosure and
       DHRM Policy 6.10 Records Management.

       Confidentiality: Confidentiality exists in the context of laws that protect certain
       relationships, including with medical and clinical care providers (and those who provide
       administrative services related to the provision of medical and clinical care), mental health
       providers, counselors, and ordained clergy, all of whom may engage in confidential
       communications under Virginia law. The University has designated individuals who have
       the ability to have privileged communications as "Confidential Employees." When
       information is shared by an individual with a Confidential Employee or a community
       professional with the same legal protections, the Confidential Employee (and/or such
       community professional) cannot reveal the information to any third paity except when an
       applicable law or a court order requires or pe1mits disclosure of such information. For
       example, information may be disclosed when: (i) the individual gives written consent for
       its disclosure; (ii) there is a concern that the individual will likely cause serious physical
       hatm to self or others; or (iii) the information concerns conduct involving suspected abuse
       or neglect of a minor under the age of 18.

        Employee Responsibility to Report Disclosures or Information about Prohibited
        Conduct: An Employee's responsibility to report incidents of Prohibited Conduct is
        governed by the University's separate repo1ting policy ("Repo1ting Policy"). Under the
        Repo1ting Policy, every Employee is designated as either a "Confidential Employee" or a
        "Responsible Employee."

        A "Confidential Employee" is (I) any Employee who is a licensed medical, clinical or
        mental-health professional (e.g., physicians, nurses, physicians' assistants, psychologists,

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       psychiatrists, professional counselors and social workers, and those performing services
       under their supervision), when acting in that professional role in the provision of services
       to a patient who is a Student ("health care providers"); and (2) any Employee providing
       administrative, operational and/or related supp01t for such health care providers in their
       perf01mance of such services. A Confidential Employee will not disclose information
       about Prohibited Conduct to the University's Title IX Coordinator without the Student's
       pe1mission (subject to the exceptions set forth in the Confidentiality section of this policy).
       A "Responsible Employee" is any University Employee who is not a Confidential
       Employee. A Responsible Employee is required to repo1t to the University's Title IX
       Coordinator all relevant details (obtained directly or indirectly) about an incident of
       Prohibited Conduct that involves any Student as a Complainant, Respondent, and/or
       witness, including dates, times, locations, and names of patties and witnesses. Responsible
       Employees include Resident Assistants, Graduate Teaching Assistants, and all other
       student-employees, when disclosures are made to any of them in their capacities as
       employees. Responsible Employees are not required to report information disclosed(!) at
       public awareness events (e.g., "Take Back the Night," candlelight vigils, protests, "survivor
       speak-outs" or other public forums in which students may disclose incidents of Prohibited
       Conduct; collectively, "Public Awareness Events"), or (2) during a student's participation
       as a subject in an Institutional Review Board-approved human subjects research protocol
       ("IRB Research"). The University may provide information about Students' Title IX rights
       and about available University and community resources and supp01t at Public Awareness
       Events, however, and Institutional Review Boards may, in appropriate cases, require
       researchers to provide such information to all Student subjects ofIRB Research.

       Responsibility to Report Prohibited Conduct Where Either the Complainant or the
       Respondent Is an Employee: Under this policy, supervisors, management and human
       resources professionals are required to report to the University's Title IX Coordinator all
       relevant details about an incident of Prohibited Conduct where either the Complainant or
       the Respondent is an Employee. Reporting is required when such supervisors, management
       and human resource professionals !mow (by reason of a direct or indirect disclosure) or
       should have known of such Prohibited Conduct. For academic faculty, supervisors include
       depmtment chairs, deans, and other unit administrators.

       Reporting of Any Prohibited Conduct on Certain University Property: Consistent with
       the requirements of Va. Code § 23-9.2: 15 (the "Virginia Reporting Statute"), Responsible
       Employees are also required to report to the Title IX Coordinator all information obtained,
       from any source, about alleged Prohibited Conduct that occurs anywhere on University
       Grounds (including residence halls); on any contiguous (off-Grounds) property owned or
       controlled by the University; on any property controlled by a Student organization
       (including fraternity houses) or frequently used by Students, wherever located; and public
       property (including streets, sidewalks and parking facilities) that is within or immediately
       adjacent to, and accessible from, Grounds. These reporting obligations, and the Virginia
       Rep01ting Statute, are described in the Repotting Policy.

        Reporting to Law Enforcement: Under the Virginia Reporting Statute, the University is

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       required to report information about certain allegations of Prohibited Conduct to the law
       enforcement agencies and the prosecuting authorities who would be responsible,
       respectively, for investigating and prosecuting such allegations.

       Clery Act Reporting: Pursuant to the Clery Act, the University includes statistics about
       cettain offenses in its annual security repott and provides those statistics to the United
       States Department of Education in a manner that does not include any personally
       identifying information about individuals involved in an incident. The Clery Act also
       requires the University to issue timely warnings to the University community about certain
       crimes that have been reported and may continue to pose a serious or continuing threat to
       Students and Employees. Consistent with the Clery Act, the University withholds the
       names and other personally identifying information of Complainants when issuing timely
       warnings to the University community.

       C. CONFIDENTIAL RESOURCES

       Consistent with the definition of Confidential Employees and licensed community
       professionals, there are a number of resources within the University and Charlottesville
       communities where Students and Employees can obtain confidential, trauma-informed
       counseling and supp01t. These resources include the Sexual Assault Resource Agency
       ((434) 977-7273), pursuant to a separate Memorandum of Understanding with the
       University; the Shelter for Help in Emergency ((434) 293-8509); and the Family Violence
       and Sexual Assault Virginia Hotline ((800) 838-8238, or text at (804) 793-9999).

       Students can also obtain such counseling at Counseling and Psychological Services within
       Student Health and at the Women's Center ((434) 982-2903). For a complete list of
       University and community-based confidential resources for Students, see the Student
       Resource Guide (Appendix A-1 ).

       Employees can also obtain such counseling through the Faculty and Employee Assistance
       Program ((434) 243-2643). For a complete list of University and community-based
       confidential resources for Employees, see the Employee Resource Guide (Appendix B-1).

        D. REPORTING

        There are multiple channels for rep01ting Prohibited Conduct. A Complainant may choose
        to report to the University, to law enforcement, to both, or to neither. These reporting
        options are not exclusive. Complainants may simultaneously pursue criminal and
        disciplinary action. The University will support Complainants in understanding, assessing
        and pursuing these options.

           1. Law Enforcement

           Complainants have the right to notify or decline to notify law enforcement. In keeping
           with its commitment to taking all appropriate steps to eliminate, prevent, and remedy
           all Prohibited Conduct, the University urges Complainants to report Prohibited

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            Conduct immediately to local law enforcement by contacting:

                •   911 (for emergencies)
                •   Albemarle County Police ((434) 977-9041) (for non-emergencies)
                •   City of Charlottesville Police ((434) 970-3280) (for non-emergencies)
                •   University Police ((434) 924-7166) (for non-emergencies)

            Police have unique legal authority, including the power to seek and execute search
            warrants, collect forensic evidence, make arrests, and assist in seeking Emergency
            Protective Orders. Although a police report may be made at any time, Complainants
            should be aware that a one-year statute of limitations may apply to cettain
            misdemeanors in Virginia. The University will assist Complainants in notifying law
            enforcement if they choose to do so.

            2. The University

            The University also urges anyone who becomes aware of an incident of Prohibited
            Conduct to report the incident immediately to the University through the following
            reporting options:

                •   By contacting the University's Title IX Coordinator or any Deputy Title IX
                    Coordinator by telephone, email, or in person during regular office hours at
                    their respective locations, email addresses and/or phone numbers listed in
                    Section IV, above; or
                •   Through Just Report It, the University's website for online reporting (which
                    also allows for anonymous repotting).

         There is no time limit for reporting Prohibited Conduct to the University under this policy;
         however, the University's ability to respond may diminish over time, as evidence may
         erode, memories may fade, and Respondents may no longer be affiliated with the
         University. If the Respondent is no longer a Student or an Employee, the University will
         provide reasonably appropriate remedial measures, assist the Complainant in identifying
         external repmting options, and take reasonable steps to eliminate Prohibited Conduct,
         prevent its recurrence, and remedy its effects.

         The University will not pursue disciplinary action against Complainants or witnesses for
         disclosure of illegal personal consumption of drugs or alcohol where such disclosures are
         made in connection with a good faith repott or investigation of Prohibited Conduct.
         Complainants may simultaneously pursue criminal and University complaints.


  VI.    PROHIBITED CONDUCT UNDER THIS POLICY

  Conduct under this policy is prohibited regardless of the sex, sexual orientation and/or gender
  identity/expression of the Complainant or Respondent. Prohibited Conduct includes the following

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  specifically defined forms of behavior: Sexual Assault, Sexual Exploitation, Intimate Paiiner
  Violence, Stalking, Sexual or Gender-Based Harassment, Complicity, and Retaliation.

         A. SEXUAL ASSAULT

         Sexual Assault consists of (1) Sexual Contact and/or (2) Sexual Intercourse that occurs
         without (3) Affirmative Consent.

            1. Sexual Contact is:

                    •   Any intentional sexual touching
                    •   However slight
                    •   With any object or body paii (as described below)
                    •   Performed by a person upon another person

            Sexual Contact includes (a) intentional touching of the breasts, buttocks, groin or
            genitals, whether clothed or unclothed, or intentionally touching another with any of
            these body parts; and (b) making another touch you or themselves with or on any of
            these body parts.

            2. Sexnal Intercourse is:

                •       Any penetration
                •       However slight
                •       With any object or body pati (as described below)
                •       Performed by a person upon another person

            Sexual Intercourse includes (a) vaginal penetration by a penis, object, tongue, or finger;
            (b) anal penetration by a penis, object, tongue, or finger; and (c) any contact, no matter
            how slight, between the mouth of one person and the genitalia of another person.

            3. Affirmative Consent is:

                •       Informed (knowing)
                •       Voluntary (freely given)
                •       Active (not passive), meaning that, through the demonstration of clear words or
                        actions, a person has indicated permission to engage in mutually agreed-upon
                        sexual activity

             Affirmative Consent cannot be obtained by Force. Force includes (a) the use of
             physical violence, (b) threats, (c) intimidation, and/or ( d) coercion.

                a) Physical violence means that a person is exerting control over another person
                   through the use of physical force. Examples of physical violence include


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                  hitting, punching, slapping, kicking, restraining, choking, and brandishing or
                  using any weapon.
              b) Threats are words or actions that would compel a reasonable person to engage
                 in unwanted sexual activity. Examples include threats to harm a person
                 physically, to reveal private information to harm a person's reputation, or to
                 cause a person academic or economic harm.
              c) Intimidation is an implied threat that menaces or causes reasonable fear in
                 another person. A person's size, alone, does not constitute intimidation;
                 however, a person's size may be used in a way that constitutes intimidation
                 (e.g., blocking access to an exit).
              d) Coercion is the use of an unreasonable amount of pressure to gain sexual access.
                 Coercion is more than an effort to persuade, entice, or attract another person to
                 have sex. When a person makes clear a decision not to patticipate in a particular
                 form of Sexual Contact or Sexual Intercourse, a decision to stop, or a decision
                 not to go beyond a certain sexual interaction, continued pressure can be
                 coercive. In evaluating whether coercion was used, the University will
                 consider: (i) the frequency of the application of the pressure, (ii) the intensity
                 of the pressure, (iii) the degree of isolation of the person being pressured, and
                 (iv) the duration of the pressure.
       Affirmative Consent cannot be gained by taking advantage of the incapacitation of another,
       where the person initiating sexual activity knew or reasonably should have known that the
       other was incapacitated. Incapacitation means that a person lacks the ability to make
       informed, rational judgments abont whether or not to engage in sexual activity.

       A person who is incapacitated is unable, temporarily or permanently, to give Affirmative
       Consent because of mental or physical helplessness, sleep, unconsciousness, or lack of
       awareness that sexual activity is taking place. A person may be incapacitated as a result of
       the consumption of alcohol or other drugs, or due to a temporary or permanent physical or
       mental health condition.

       The University offers the following guidance on Affirmative Consent and assessing
       incapacitation:
       A person who wants to engage in a specific sexual activity is responsible for obtaining
       Affirmative Consent for that activity. Lack of protest does not constitute Affamative
       Consent. Lack of resistance does not constitute Affirmative Consent. Silence and/or
       passivity also do not constitute Affirmative Consent. Relying solely on non-verbal
       communication before or during sexual activity can lead to misunderstanding and may
       result in a violation of this Policy. It is important not to make assumptions about whether
       a potential pattner is consenting. In order to avoid confusion or ambiguity, participants are
       encouraged to talk with one another before engaging in sexual activity. If confusion or
       ambiguity arises during sexual activity, participants are encouraged to stop and clarify a
       mutual willingness to continue that activity.
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       Affirmative Consent to one form of sexual activity does not, by itself, constitute
       Affomative Consent to another form of sexual activity. For example, one should not
       presume that Affirmative Consent to oral-genital contact constitutes Affirmative Consent
       to vaginal or anal penetration. Affirmative Consent to sexual activity on a prior occasion
       does not, by itself, constitute Affirmative Consent to future sexual activity. In cases of
       prior relationships, the manner and nature of prior communications between the parties and
       the context of the relationship may have a bearing on the presence of Affirmative Consent.

       Affirmative Consent may be withdrawn at any time. An individual who seeks to withdraw
       Affirmative Consent must communicate, through clear words or actions, a decision to cease
       the sexual activity. Once Affirmative Consent is withdrawn, the sexual activity must cease
       immediately.

       In evaluating Affirmative Consent in cases of alleged incapacitation, the University asks
       two questions: (I) Did the person initiating sexual activity know that the other party was
       incapacitated? and ifnot. (2) Should a sober, reasonable person in the same situation have
       known that the other party was incapacitated? If the answer to either of these questions is
       "YES," Affirmative Consent was absent and the conduct is likely a violation of this policy.

       Incapacitation is a state beyond drunkenness or intoxication. A person is not necessarily
       incapacitated merely as a result of drinking or using drugs. The impact of alcohol and other
       drugs varies from person to person.

       One is not expected to be a medical expert in assessing incapacitation. One must look for
       the common and obvious warning signs that show that a person may be incapacitated or
       approaching incapacitation. Although every individual may manifest signs of
       incapacitation differently, typical signs include slun-ed or incomprehensible speech,
       unsteady gait, combativeness, emotional volatility, vomiting, or incontinence. A person
       who is incapacitated may not be able to understand some or all of the following questions:
       "Do you know where you are?" "Do you know how you got here?" "Do you know what is
       happening?" "Do you know whom you are with?"

       One should be cautious before engaging in Sexual Contact or Sexual Intercourse when
       either party has been drinking alcohol or using other drugs. The introduction of alcohol or
       other drugs may create ambiguity for either party as to whether Affirmative Consent has
       been sought or given. If one has doubt about either patty's level of intoxication, the safe
       thing to do is to forego all sexual activity.

       Being impaired by alcohol or other drugs is no defense to any violation oft/tis policy.

        B. SEXUAL EXPLOITATION
        Sexual Exploitation is purposely or knowingly doing any of the following:

           •   Causing the incapacitation of another person (through alcohol, drugs, or any other

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                 means) for the pmpose of compromising that person's ability to give Affitmative
                 Consent to sexual activity;
             •   Allowing third parties to observe private sexual activity from a hidden location
                 (e.g., closet) or through electronic means (e.g., Skype or livestreaming of images);
             •   Engaging in voyeurism (e.g., watching private sexual activity without the consent
                 of the participants or viewing another person's intimate parts (including genitalia,
                 groin, breasts or buttocks) in a place where that person would have a reasonable
                 expectation of privacy);
             •   Recording or photographing private sexual activity and/or a person's intimate patts
                 (including genitalia, groin, breasts or buttocks) without consent;
             •   Disseminating or posting images of private sexual activity and/or a person's
                 intimate paits (including genitalia, groin, breasts or buttocks) without consent;
             •   Prostituting another person; or
             •   Exposing another person to a sexually transmitted infection or virus without the
                 other's lmowledge.

         C. INTIMATE PARTNER VIOLENCE
         Intimate Pattner Violence includes any act of violence or threatened act of violence that
         occurs between individuals who are involved or have been involved in a sexual, dating,
         spousal, domestic, or other intimate relationship. 1 Intimate Pattner Violence may include
         any form of Prohibited Conduct under this policy, including Sexual Assault, Stalking, and
         Physical Assault (as defined below).

         Physical Assault is threatening or causing physical harm or engaging in other conduct that
         threatens or endangers the health or safety of any person. Physical Assault will be
         addressed under this policy if it involves Sexual or Gender-Based Harassment, Intimate
         Partner Violence, or is patt of a course of conduct under the Stalking definition.

         D. STALKING2

         Stalking occurs when a person engages in a course of conduct directed at a specific person
         under circumstances that would cause a reasonable person to fear bodily injury or to
         experience substantial emotional distress.

         Course of conduct means two or more acts, including but not limited to acts in which a
         person directly, indirectly, or through third parties, by any action, method, device, or
         means, follows, monitors, observes, surveils, threatens, or communicates to or about
         another person, or interferes with another person's property. Substantial emotional distress
         means significant mental suffering or anguish.


  1 Intimate Partner Violence includes "dating violence" and "domestic violence," as defined by VA WA.
  Consistent with VA WA, the University will evaluate the existence of an intimate relationship based upon
  the Complainant's statement and taking into consideration the length of the relationship, the type of
  relationship, and the frequency of interaction between the persons involved in the relationship.
  2
    This definition is consistent with VA WA.
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       Stalking includes "cyber-stalking," a particular form of stalking in which a person uses
       electronic media, such as the internet, social networks, biogs, cell phones, texts, or other
       similar devices or forms of contact.

       E. SEXUAL OR GENDER-BASED HARASSMENT

       Sexual Harassment is any unwelcome sexual advance, request for sexual favors, or other
       unwanted conduct of a sexual nature, whether verbal, non-verbal, graphic, physical, or
       otherwise, when the conditions outlined in (1) and/or (2), below, are present.


       Gender-Based Harassment includes harassment based on gender, sexual orientation,
       gender identity, or gender expression, which may include acts of aggression, intimidation,
       or hostility, whether verbal or non-verbal, graphic, physical, or otherwise, even if the acts
       do not involve conduct of a sexual nature, when the conditions outlined in (I) and/or (2),
       below, are present.


              (I) Submission to or rejection of such conduct is made, either explicitly or
                  implicitly, a term or condition of a person's employment, academic standing,
                  or participation in any University programs and/or activities or is used as the
                  basis for University decisions affecting the individual (often refen-ed to as "quid
                  pro quo" harassment); or

              (2) Such conduct creates a hostile environment. A "hostile environment" exists
                  when the conduct is sufficiently severe, persistent, or pervasive that it
                  unreasonably interferes with, limits, or deprives an individual from
                  paiticipating in or benefitting from the University's education or employment
                  programs and/or activities. Conduct must be deemed severe, persistent, or
                  pervasive from both a subjective and an objective perspective. In evaluating
                  whether a hostile environment exists, the University will consider the totality
                  of known circumstances, including, but not limited to:

                      •   The frequency, nature and severity of the conduct;
                      •   Whether the conduct was physically threatening;
                      •   The effect of the conduct on the Complainant's mental or emotional
                          state;
                      •   Whether the conduct was directed at more than one person;
                      •   Whether the conduct arose in the context of other discriminatory
                          conduct;
                      •   Whether the conduct unreasonably interfered with the Complainant's
                          educational or work performance and/or University programs or
                          activities; and
                      •   Whether the conduct implicates concerns related to academic freedom
                          or protected speech.
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         A hostile environment can be created by persistent or pervasive conduct or by a single or
         isolated incident, if sufficiently severe. The more severe the conduct, the less need there
         is to show a repetitive series of incidents to prove a hostile environment, particularly ifthe
         conduct is physical. A single incident of Sexual Assault, for example, may be sufficiently
         severe to constitute a hostile environment. In contrast, the perceived offensiveness of a
         single verbal or written expression, standing alone, is typically not sufficient to constitute
         a hostile environment.

         F. RETALIATION
         Retaliation means any adverse action taken against a person for making a good faith report
         of Prohibited Conduct or participating in any proceeding under this policy. Retaliation
         includes threatening, intimidating, harassing, coercing or any other conduct that would
         discourage a reasonable person from engaging in activity protected under this policy.
         Retaliation may be present even where there is a finding of "no responsibility" on the
         allegations of Prohibited Conduct. Retaliation does not include good faith actions lawfully
         pursued in response to a report of Prohibited Conduct.

         G. COMPLICITY
         Complicity is any act taken with the purpose of aiding, facilitating, promoting or
         encouraging the commission of an act of Prohibited Conduct by another person.


  VII.   VIOLATIONS OF LAW

  Behavior that violates this policy may also constitute a crime under the laws of the jurisdiction in
  which the incident occurred. For example, the Commonwealth of Virginia criminalizes and
  punishes some forms of Sexual Assault, Intimate Partner Violence, Sexual Exploitation, Stalking,
  and Physical Assault. The criminal statutes that may apply in cases of Physical Assault and
  Intimate Partner Violence are found in various sections of Chapter 4, Articles 1 (Homicide) and
  4 (Assaults and Bodily Woundings), of Title 18.2 of the Code of Virginia. The criminal statutes
  relating to Sexual Assault are found in Sections 18.2-61 to 18.2-67. l 0 of the Code of Virginia.
  Section 18.2-60.3 of the Code of Virginia defines and identifies the penalty for criminal stalking.
  Finally, Sections 18.2-386.1 and 18.2-386.2 of the Code of Virginia provide for criminal penalties
  in some cases of Sexual Exploitation. This compilation of criminal statutes is not exhaustive, but
  is offered to notify the University community that, some forms of Prohibited Conduct may also
  constitute crimes under Virginia law, which may subject a person to criminal prosecution and
  punishment in addition to any sanctions under this policy.


  VIII. PREVENTION AND AWARENESS PROGRAMS
  The University is committed to the prevention of Prohibited Conduct through regular and ongoing
  education and awareness programs. Incoming Students and new Employees receive primary
  prevention and awareness programming as part of their orientation, and returning Students and
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  current Employees receive ongoing training and related education. For a description of the
  University's Prohibited Conduct prevention and awareness programs, including programs on
  minimizing the risk of incidents of Prohibited Conduct and bystander intervention, see Appendix
  Q.

  IX.    TRAINING

  The University provides training to Students and Employees to ensure they understand this policy
  and the topics and issues related to maintaining an education and employment environment free
  from harassment and discrimination. For a description of the University's training related to this
  policy, see Appendix C.


  X.     RELATED POLICIES

         A. STUDENTS

         Standards of Conduct: www.student.virginia.edu/-judic/standards-of-conduct.

         Rights of Students at the University of Virginia Pursuant to the Family Educational
         Rights and Privacy Act (FERPA): http://uvapolicy.virginia.edu/policy/STU-002.

         B. EMPLOYEES
         Reporting Policy: http://uvapolicy.virginia.edu/policy/HRM-040.

         C. EMPLOYEES AND THIRD PARTIES
         Preventing and Addressing Discrimination and Harassment:
         http://uvapolicy.virginia.edu/policy/HRM-009.
         Preventing and Addressing Retaliation: http://uvapolicy.virginia.edu/policy/HRM-O 10.


  XI.    OBLIGATION TO PROVIDE TRUTHFUL INFORMATION

  All University community members are expected to provide truthful information in any report or
  proceeding under this policy. Submitting or providing false or misleading information in bad faith
  or with a view to personal gain or intentional harm to another in connection with an incident of
  Prohibited Conduct is prohibited and subject to disciplinary sanctions under the University's
  Honor Code and disciplinary action under the appropriate Employee disciplinary policy. This
  provision does not apply to reports made or information provided in good faith, even if the facts
  alleged in the report are not later substantiated.


  XII.   ANNUAL REVIEW

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 This policy is maintained by EOCR. The University will review and update this policy, as
 appropriate, by October 31 of each year. The University will evaluate, among other things, any
 changes in legal requirements, existing University resources, and the resolution of cases from the
 preceding year (including, but not limited to, timeframes for completion and sanctions and
 remedies imposed). The Title IX Coordinator shall ce1iify to the State Council of Higher Education
 for Virginia that this policy has been reviewed and updated, as appropriate, in accordance with
 Virginia law.




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                                                                                                                    APPENDIX A


                                                   UNIVERSITY OF VIRGINIA

             PROCEDURES FOR REPORTS AGAINST STUDENTS

        INVESTIGATING AND RESOLVING REPORTS OF SEXUAL AND GENDER-BASED
            HARASSMENT AND OTHER FORMS OF INTERPERSONAL VIOLENCE
                    COMMITTED BY STUDENTS UNDER THE POLICY


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  I.       INTRODUCTION

  The University of Virginia (the "University") is committed to providing a safe and non-
  discriminatory environment for all members of the University community. The University
  prohibits Sexual Assault, Sexual Exploitation, Intimate Partner Violence, Stalking, Sexual and
  Gender-Based Harassment, Complicity and Retaliation (together, "Prohibited Conduct"). These
  forms of Prohibited Conduct are defined in the University's Policy on Sexual and Gender-Based
  Harassment and Other Forms of Interpersonal Violence (the "Policy"). This Appendix identifies
  the procedures (the "Procedures") the University follows when it receives a repmt alleging
  Prohibited Conduct by a Student. The University uses these Procedures to investigate and
  adjudicate any such allegations and to impose disciplinary sanctions against Students found
  responsible for violating the Policy. 1


  II.      REPORTING

  The University encourages anyone2 who experiences or becomes aware of an incident of
  Prohibited Conduct involving a Student to immediately report the incident to the University
  through the following repmting options:

                     •    By contacting the University's Title IX Coordinator or Deputy Title IX
                          Coordinator:

                          Emily Babb, Assistant Vice President for Title IX Compliance/Title IX
                          Coordinator
                          O'Neil Hall, Terrace Level, Room 037
                          ecb6y@virginia.edu or titleixcoordinator@virginia.edu
                          (434) 297-7643

  1 These Procedures should be read in conjunction with the Policy. Capitalized tenns used and not otherwise

  defined in these Procedures are defined in the Policy. For purposes of these Procedures, the "Title IX
  Coordinator" means the Title IX Coordinator, Deputy Title IX Coordinator, and/or any of their respective
  trained designees.
  ' Pursuant to University policy, certain University employees, called "Responsible Employees," are
  required to report to the Title IX Coordinator all information disclosed to them about an incident of
  Prohibited Conduct. See "Reporting by University Employees of Disclosures Relating to Sexual and
  Gender-Based Harassment and Other Forms of Interpersonal Violence."
                                                                                                                              Page 2

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                    Akia Haynes, Deputy Title IX Coordinator/Investigator
                    Title IX Office
                    O'Neil Hall, Terrace Level Room 036
                    (434) 924-1696
                    aah6n@virginia.edu

                •   Through Just Report It, the University's website for online repmting (which
                    allows for anonymous reporting).


  A Complainant may choose to make a report to the University to pursue resolution under these
  Procedures and may also choose to make a repo1t to law enforcement. A Complainant may pursue
  either or both of these options at the same time. As set fmth in the Policy, a Complainant who
  wishes to pursue criminal action in addition to, or instead of, making a report under these
  Procedures should contact law enforcement directly:

                •   911 (for emergencies)
                •   Albemarle County Police ((434) 977-9041) (for non-emergencies)
                •   City of Charlottesville Police ((434) 970-3280) (for non-emergencies)
                •   University Police ((434) 924-7166) (for non-emergencies)

  The University also offers access to confidential resources for individuals who are unsure about
  whether to report Prohibited Conduct or are seeking counseling or other emotional support in
  addition to (or without) making a report to the University. The following guides identify
  confidential resoul'ces, both at the University and in the Charlottesville community, and fmther
  explain options for reporting Prohibited Conduct to the University and to law enforcement:

                •   Students may refer to the Student Resource Guide (Appendix A-1);
                •   Employees may refer to the Employee Resource Guide (Appendix B-1 );
                •   Third Parties may contact the University's Title IX Coordinator.

  Complainants are entitled to receive infonnation, assistance and a broad range of support and
  remedial measures regardless of whether they choose to pursue criminal and/or University
  disciplinary resolution of Prohibited Conduct. The Student and Employee Resource Guides
  outline these resources and remedial measures and describe how to request them.



  III.   EXPECTATIONS OF COMPLAINANTS AND RESPONDENTS

  Pursuant to these Procedures, Complainants and Respondents can expect:

         A. Prompt and equitable resolution of allegations of Prohibited Conduct;


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        B. Privacy in accordance with the Policy and any legal requirements;

        C. Reasonably available interim remedial measures, as described in these Procedures and
           in the applicable Resource Guide;

        D. Freedom from Retaliation for making a good faith repmt of Prohibited Conduct or
           participating in any proceeding under the Policy;

        E. The responsibility to refrain from Retaliation directed against any person for making a
           good faith report of Prohibited Conduct or participating in any proceeding under the
           Policy;

        F. The responsibility to provide truthful information in connection with any repmt,
           investigation, or resolution of Prohibited Conduct under the Policy or these Procedures;

        G. The opportunity to a1ticulate concerns or issues about proceedings under the Policy and
           these Procedures;

        H. Timely notice of any meeting or proceeding at which the party's presence 1s
           contemplated by these Procedures;

        I.   The opportunity to choose an advisor, including the right to have that advisor attend
             any meeting or proceeding at which the party's presence is contemplated by these
             Procedures;

        J. Written notice of an investigation, including notice of potential Policy violations and
             the nature of the alleged Prohibited Conduct;

        K. The oppmtunity to challenge the Investigator or any member of the Review Panel for
           bias or conflict of interest;

        L. The opportunity to offer information, present evidence, and identify witnesses during
           an investigation;

        M. The opportunity to be heard, orally and/or in writing, as to the determination of a Policy
           violation and the imposition of any sanction(s);

        N. Timely and equal access to any information that will be used during Alternative or
           Formal Resolution proceedings and related meetings;

        0. Reasonable time to prepare any response contemplated by these Procedures;

        P. Written notice of any extension oftimeframes for good cause; and

        Q. Written notice of the outcome of any Formal Resolution proceedings, including the
             determination of a Policy violation, imposition of any sanction(s), and the rationale for
             each.
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  IV.    INITIAL ASSESSMENT

  Upon receipt of a report of Prohibited Conduct committed by a Student, the Title IX Coordinator
  will make an initial assessment of the reported information and respond to any immediate health
  or safety concerns raised by the report. In this initial assessment, the Title IX Coordinator will:

         A. Assess the Complainant's safety and well-being and offer the University's immediate
            support and assistance;

         B. Inform the Complainant of the right to seek medical treatment, and explain the
            impo1tance of obtaining and preserving forensic and other evidence;

         C. Inform the Complainant of the right to contact law enforcement, decline to contact law
            enforcement, and/or seek a protective order;

         D. Inform the Complainant about University and community resources, the right to seek
            appropriate and available remedial and protective measures, and how to request those
            resources and measures;

         E. Inform the Complainant of the right to seek Alternative Resolution (where available)
            or Fmmal Resolution under these Procedures; ascertain the Complainant's expressed
            preference (if the Complainant has, at the time of the initial assessment, expressed a
            preference) for pursuing Alternative Resolution, Formal Resolution, or neither; and
            discuss with the Complainant any concerns or barriers to participating in any University
            investigation and resolution under these Procedures;

         F. Explain the University's prohibition against Retaliation and that the University will
            take prompt action in response to any act of Retaliation;

         G. Assess the nature and circumstances of the repmt, including whether it provides the
            names and/or any other information that personally identifies the Complainant, the
            Respondent, any witness, and/or any other third patty with lmowledge of the reported
            incident;

         H. Ascertain the ages of the Complainant and the Respondent, if known, and, if either of
            the parties is a minor (under 18), contact the appropriate child protective service
            agency; and

         I.   Communicate with appropriate University officials to determine whether the repmt
              triggers any Clery Act obligations, including ent1y of the report in the daily crime log
              and/or issuance of a timely warning, and take steps to meet those obligations.

  The Title IX Coordinator will ensure that the Complainant receives a written explanation of all
  available resources and options and is offered the opportunity to meet to discuss those resources
  and options. When a decision is reached to initiate an investigation or to take any other action
  under these Procedures that impacts a Respondent (including the imposition of interim protective

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  measures), the Title IX Coordinator will ensure that the Respondent is notified, receives a written
  explanation of all available resources and options, and is offered the opportunity to meet to discuss
  those resources and options.


  V.     THREAT ASSESSMENT


  Following the initial assessment, the Title IX Coordinator will promptly forward to an Evaluation
  Panel all information then known about the reported incident of Prohibited Conduct. Such
  information includes, if known, the names and/or any other information that personally identifies
  the Complainant, the Respondent, any witnesses, and/or any other third parties with knowledge of
  the reported incident.

          A. EVALUATION PANEL

          An Evaluation Panel will evaluate every report of Prohibited Conduct. The Evaluation
          Panel will convene (in person, by telephone, or by videoconference) within 72 hours after
          receiving infotmation from the Title IX Coordinator, as described above, and will convene
          again, as necessary, to review new infotmation as it becomes available. The Evaluation
          Panel may include any and all members of the University's Threat Assessment Team and
          shall include, at a minimum: (I) the Title IX Coordinator, (2) a representative of the
          University Police Depaitment (the "UPD Representative"), and (3) a representative from
          the Division of Student Affairs. In addition, the Evaluation Panel may include a
          representative from Human Resources or the Office of the Provost, depending on the
          circumstances of the repotted incident and the status of the Complainant and the
          Respondent.

          The Evaluation Panel operates pursuant to Va. Code §23-9.2:15 (the "Virginia Repotting
          Statute") and has access, under Virginia law, to ce1tain otherwise confidential information,
          including law enforcement records, criminal history record information, as provided in Va.
          Code §19.2-389 and §19.2-389.l; health records, as provided in Va. Code §32.1-127.1:03;
          University disciplinary, academic and/or personnel records; and any other information or
          evidence known to the University or to law enforcement. The Evaluation Panel may seek
          additional information about the reported incident through any other legally permissible
          means.

          B. HEALTH AND SAFETY THREAT ASSESSMENT

              1. Risk Factors. The Evaluation Panel will determine whether the reported infotmation
                  and any other available information provides a rational basis for concluding that
                  there is a threat to the health or safety of the Complainant or to any other member
                  of the University community. The Evaluation Panel will make this determination
                  based upon a review of the totality of the known circumstances, and will be guided
                  by a consideration of the following factors (the "Risk Factors"):

                  •   Whether the Respondent has prior arrests, is the subject of prior repo1ts and/or

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                       complaints related to any form of Prohibited Conduct, or has any history of
                       violent behavior;
                   •   Whether the Respondent has a history of failing to comply with any University
                       No-Contact Directive, other University protective measures, and/or any judicial
                       protective order;
                   •   Whether the Respondent has threatened to commit violence or any form of
                       Prohibited Conduct;
                   •   Whether the Prohibited Conduct involved multiple Respondents;
                   •   Whether the Prohibited Conduct involved physical violence. "Physical violence"
                       means exerting control over another person through the use of physical force.
                       Examples of physical violence include hitting, punching, slapping, kicking,
                       restraining, choking and brandishing or using any weapon;
                   •   Whether the report reveals a pattern of Prohibited Conduct (e.g., by the
                       Respondent, by a particular group or organization, around a particular recurring
                       event or activity, or at a particular location);
                   •   Whether the Prohibited Conduct was facilitated through the use of"date-rape" or
                       similar drugs or intoxicants;
                   •   Whether the Prohibited Conduct occuned while the Complainant was
                       unconscious, physically helpless or unaware that the Prohibited Conduct was
                       occuning;
                   •   Whether the Complainant is (or was at the time of the Prohibited Conduct) a
                       minor (under 18); and/or
                   •   Whether any other aggravating circumstances or signs of predatory behavior are
                       present.

               2. Disclosure(s) of Information to Law Enforcement. Pursuant to the Virginia
                  Reporting Statute, the Evaluation Panel is required to disclose information about
                  alleged Prohibited Conduct to law enforcement in the following circumstances:

                   a) If the Evaluation Panel (or, in the absence of consensus within the Evaluation
                      Panel, the UPD Representative) concludes that there is a significant and
                      mticulable threat to the health or safety of the Complainant or to any other
                      member of the University community and that disclosure of available information
                      (including the. names and any other information that personally identifies the
                      Complainant, the Respondent, any witnesses, and/or any other third parties with
                      knowledge of the repmted incident) is necessary to protect the health or safety of
                      the Complainant or other individuals, the UPD Representative will immediately
                      disclose the infmmation to the law enforcement agency that would be responsible
                      for investigating the alleged act of Prohibited Conduct. 3 The Evaluation Panel
                      will make this determination based upon a review of the totality of the known
                      circumstances and consideration of the list of Risk Factors, as described in
                      Section V.B.1 of these Procedures. The Title IX Coordinator will promptly notify
                      the Complainant whenever such disclosure has been made.


  ' Where the law enforcement agency that would be responsible for investigating the alleged act of Prohibited Conduct
  is located outside of the United States, this disclosure is not required by the Virginia Reporting Statute.
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               b) If the alleged act of Prohibited Conduct constitutes a felony violation of the Code
                  of Virginia, the UPD Representative will so inform the other members of the
                  Evaluation Panel and will, within 24 hours, (i) consult with the appropriate
                  Commonwealth's Attorney or other prosecutor who would be responsible for
                  prosecuting the alleged act of Prohibited Conduct (the "Prosecuting Authority"),
                  and (ii) disclose to the Prosecuting Authority the information then known to the
                  Evaluation Panel. This disclosure is required by the Virginia Reporting Statute
                  where the alleged act of Prohibited Conduct would violate Article 7 (§18.2-61 et
                  seq.) of Chapter 4 of title 18.2 of the Code of Virginia. Such disclosure will
                  exclude the names and any other information that personally identifies the
                  Complainant, the Respondent, any witnesses, and/or any other third patties with
                  knowledge of the reported incident (the "Identifying Info1mation"), unless the
                  Identifying Information was disclosed to law enforcement under the health and
                  safety exception described in paragraph (a), above, in which case the Identifying
                  Information also will be disclosed to the Prosecuting Authority. If the UPD
                  Representative declines to so consult with the Prosecuting Authority, any member
                  of the Evaluation Panel who individually concludes that the alleged act of
                  Prohibited Conduct would constitute such a felony violation may consult with the
                  Prosecuting Authority and make the required disclosure(s) in the manner and
                  within the timeframe set forth above.

                   The Evaluation Panel will reconvene as necessary to continue to evaluate whether
                   any new or additional information received triggers any fmther obligation(s)
                   under the Clery Act or with respect to any child protective service agency, and
                   will direct the Title IX Coordinator to take such further actions, as necessary.

        C. UNIVERSITY ACTIONS FOLLOWING HEALTH AND SAFETY THREAT
           ASSESSMENT

        Upon completion of the health and safety threat assessment, the Evaluation Panel will
        determine the course of action under these Procedures, which may include, without
        limitation, Formal Resolution and/or Alternative Resolution (if available). Where the
        Complainant requests that personally-identifying information not be shared with the
        Respondent, that no investigation be pursued, and/or that no further action be taken, the
        Evaluation Panel will seek to honor the preferences of the Complainant wherever possible.
        In all cases, the initial report, the health and safety threat assessment, and the
        determinations of the Evaluation Panel will be documented and retained by the University
        in accordance with applicable law.

           1. Where the Complainant Wishes to Pursue Formal Resolution. In every case in
              which the Complainant rep01ts Prohibited Conduct and requests an investigation
              and disciplinary action, the Title IX Coordinator will promptly initiate Formal
              Resolution under these Procedures.

           2. Where the Complainant Requests Anonymity, that an Investigation not be
              Pursued, aud/or that No Disciplinary Action Be Taken. A Complainant may
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                  request that personally-identifying information not be shared with the
                  Respondent, that no investigation be pursued, and/or that no disciplinary action be
                  taken.
                  The Evaluation Panel will consider the following factors in evaluating such
                  request(s): (I) the totality of the known circumstances; (2) the presence of any Risk
                  Factors, as described in Section V.B.l of these Procedures; (3) the potential impact
                  of such action(s) on the Complainant; (4) any evidence showing that the
                  Respondent made statements of admission or otherwise accepted responsibility for
                  the Prohibited Conduct; (5) the existence of any independent information or
                  evidence regarding the Prohibited Conduct; and (6) any other available and relevant
                  information. The University will seek to honor the Complainant's request(s) if it is
                  possible to do so while also protecting the health and safety of the Complainant and
                  the University community.

                  a) Determination that a Complainant's Request(s) Can be Honored. Where the
                     Evaluation Panel determines that a Complainant's request(s) (that personally-
                     identifying information not be shared with the Respondent, that no investigation
                     be pursued, and/or that no disciplinary action be taken) can be honored, the
                     University may nevertheless take other appropriate steps designed to eliminate
                     the reported conduct, prevent its recurrence, and remedy its effects on the
                     Complainant and the University community. Those steps may include offering
                     appropriate remedial measures to the Complainant, providing targeted training or
                     prevention programs, and/or providing or imposing other remedies tailored to the
                     circumstances as a form of Alternative Resolution.

                      At any time, the Complainant may choose to pursue Alternative Resolution (if
                      available) or Formal Resolution under these Procedures. The Title IX
                      Coordinator also may request that a report be re-opened and pursued under these
                      Procedures if any new or additional information becomes available. 4

                  b) Determination that a Complainant's Request(s) Cannot be Honored. Where the
                     Evaluation Panel has determined that a Complainant's request(s) (that
                     personally-identifying infonnation not be shared with the Respondent, that no
                     investigation be pursued, and/or that no disciplinary action be taken) cannot be
                     honored (i.e., because honoring the Complainant's request(s) would impede the
                     University's ability to ensure the health and safety of the Complainant and other
                     members of the University community), the Evaluation Panel will direct the Title
                     IX Coordinator to take any appropriate University actions, which may include,
                     without limitation, (i) causing the Dean of Students to impose a No Contact
                     Directive or an Interim Disciplinary Suspension on the Respondent; (ii) causing
                     the University Registrar to place a "hold" on the Respondent's University
                     transcript; (iii) initiating an investigation and Formal Resolution under these


  ' Although a repott may be re-opened at any time, the University will only be able to pursne disciplinary
  resolution and sanctions where the Respondent continues to be a University "Student" (i.e., continues to
  be registered or enrolled for credit- or non-credit-bearing coursework at the University)·
                                                                                                     Page 9

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                   Procedures; and/or (iv) arranging, imposing, or extending any other appropriate
                   remedial and/or protective measures.

                   Where the Evaluation Panel has determined that the University must proceed
                   with an investigation despite a Complainant's request to the contrary, the Title
                   IX Coordinator will make reasonable efforts to protect the privacy of the
                   Complainant. However, actions that may be required as part of the University's
                   investigation will involve speaking with the Respondent and others who may
                   have relevant infotmation, in which case the Complainant's identity may have
                   to be disclosed. In such cases, the Title IX Coordinator will notify the
                   Complainant that the University intends to proceed with an investigation, but
                   that the Complainant is not required to participate in the investigation or in any
                   other actions undertaken by the University.

                   Where a Complainant declines to participate in an investigation, the
                   University's ability to meaningfully investigate and respond to a repoti may be
                   limited. In such cases, the Title IX Coordinator may pursue the report if it is
                   possible to do so without the Complainant's participation in the investigation
                   or resolution (e.g., where there is other relevant evidence of the Prohibited
                   Conduct, such as recordings from security cameras, corroborating repotis from
                   other witnesses, physical evidence, or any evidence showing that the
                   Respondent made statements of admission or otherwise accepted responsibility
                   for the Prohibited Conduct). In the absence of such other evidence, however,
                   the University will only be able to respond to the report in limited and general
                   ways (i.e., through the provision of remedial measures, targeted training or
                   prevention programs, or other remedies tailored to the circumstances).

        D. NOTICE TO COMPLAINANT AND RESPONDENT OF UNIVERSITY ACTIONS

        The Title IX Coordinator will promptly inform the Complainant of any action(s)
        undertaken by the University to respond to a health or safety threat to the Complainant or
        the University community, including the decision to proceed with an investigation. The
        Title IX Coordinator also will promptly inform the Respondent of any action(s)
        (including any interim protective measures) that will directly impact the Respondent, and
        provide an opportunity for the Respondent to respond to such action(s). The Title IX
        Coordinator retains the discretion to impose and/or modify any interim protective
        measures based on all available information. Interim protective measures will remain in
        effect until the resolution of the repoti by the Review Panel, unless new circumstances
        arise which warrant reconsideration of the protective measures prior to the hearing and
        determination by the Review Panel. A Complainant or Respondent may challenge
        interim protective measures or other actions, or failure to impose interim protective
        measures or take other actions, by contacting the Title IX Coordinator to address any
        concerns.
        E. NOTICE OF POTENTIAL UNIVERSITY ACTIONS AGAINST STUDENT
           GROUPS OR ORGANIZATIONS.

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         If, upon completion of the health and safety threat assessment, the Evaluation Panel
         determines that a repmi of Prohibited Conduct reveals involvement of, or a pattern of
         behavior by, a particular Student group or organization (e.g., agency group, special status
         organization, fraternity, sorority, contracted independent organization, club sport, and/or
         athletic team), the Evaluation Panel will direct the Title IX Coordinator to impose any
         appropriate remedial or protective measures contemplated by these Procedures (e.g.,
         training and/or prevention programs targeted to Student members of the group or
         organization). The Title IX Coordinator will also consult with relevant University officials
         regarding any appropriate University action directed at the Student group or organization,
         including, but not limited to, modification, suspension or termination of the Student
         group's or organization's agreement or status with the University.


  VI.    UNIVERSITY RESOLUTION

  These Procedures offer two forms of resolution of repotis of Prohibited Conduct: (I) Formal
  Resolution, which involves an investigation, and review and sanction (if applicable) by a Review
  Panel (as described in Section VI.A.3 of these Procedures), and (2) Alternative Resolution (as
  described in Section VI.B of these Procedures), which includes a variety of informal options for
  resolving repmis.

         A. FORMAL RESOLUTION

         Formal Resolution is commenced when:

                •   A Complainant reports that a Student has engaged in one or more instances of
                    Prohibited Conduct and requests, at any time, an investigation and disciplinary
                    action; or
                •   Alternative Resolution does not resolve a reported incident of Prohibited
                    Conduct and, in the Title IX Coordinator's discretion, an investigation of the
                    report of Prohibited Conduct is required; or
                •   At the conclusion of the threat assessment process described in Section V .B of
                    these Procedures, the Evaluation Panel has determined, based upon a review of
                    the totality of the circumstances and guided by a consideration of the Risk
                    Factors, that investigation of the repotied conduct is necessary to ensure the
                    health and safety of the Complainant and/or other members of the University
                    community, notwithstanding the Complainant's request that personally-
                    identifying information not be shared with the Respondent, that no investigation
                    be pursued, and/or that no disciplinary action be taken.

             1. Investigation. Whenever Formal Resolution is commenced, the Title IX
                Coordinator will designate one or more Investigators from the University's Office
                for Equal Oppmiunity and Civil Rights and/or an experienced external investigator
                to conduct a prompt, thorough, fair, and impartial investigation. All Investigators
                will receive annual training on issues related to sexual and gender-based
                harassment, sexual assault, dating violence, domestic violence, and stalking, and
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             on how to conduct an investigation that is fair and impatiial, provides parties with
             notice and a meaningful oppo1tunity to be heard, and protects the safety of
             Complainants and the University community while promoting accountability.

             a) Notice of Investigation. The Title IX Coordinator will notify the Complainant
                and the Respondent, in writing, of the commencement of an investigation. Such
                notice will (!) identify the Complainant and the Respondent; (2) specify the
                date, time (if known), location, and nature of the alleged Prohibited Conduct;
                (3) identify potential Policy violation(s); (4) identify the Investigator; (5)
                include information about the patties' respective expectations under the Policy
                and these Procedures; (6) explain the prohibition against Retaliation; (7)
                instruct the parties to preserve any potentially relevant evidence in any format;
                (8) inform the parties how to challenge patiicipation by the Investigator on the
                basis of bias or a conflict of interest; and (9) provide a copy of the Policy and
                these Procedures.
             b) Other Forms of Discriminatory and/or Harassing Conduct. If a report of
                Prohibited Conduct also implicates other forms of discriminatory and/or
                harassing conduct prohibited by the University's Preventing and Addressing
                Discrimination and Harassment (PADH) policy and/or any other violation(s) of
                the University's Standards of Conduct, the Title IX Coordinator will evaluate
                all reported allegations to determine whether the alleged Prohibited Conduct
                and the alleged PADH violation(s) and/or alleged Standard of Conduct
                violation(s) may be appropriately investigated together without unduly delaying
                the resolution of the report of Prohibited Conduct. Where the Title IX
                Coordinator determines that a single investigation is appropriate, the
                determination of responsibility for the violation of University policy will be
                evaluated under the applicable policy (i.e., the Policy, the PADHpolicy, and/or
                the Standards of Conduct), but the investigation and resolution will be
                conducted in accordance with these Procedures.
             c) Presumption of Non-Responsibility and Participation by the Parties. The
                investigation is a neutral fact-gathering process. The Respondent is presumed
                to be not responsible; this presumption may be overcome only where the
                Investigator and/or Review Panel conclude that there is sufficient evidence, by
                a Preponderance of the Evidence, to support a finding that the Respondent
                violated the Policy. Neither party is required to participate in the investigation
                or any form of resolution under these Procedures, and the Investigator will not
                draw any adverse inference from a decision by either of the parties not to
                participate.

             d) Timeframe for Completion of Investigation; Extension for Good Cause.
                Typically, the period from commencement of an investigation through
                resolution (finding and sanction, if any) will not exceed sixty (60) calendar
                days. This timeframe may be extended for good cause, which may exist if
                additional time is necessary to ensure the integrity and completeness of the
                investigation, to comply with a request by external law enforcement for
                temporary delay to gather evidence for a criminal investigation, to
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                accommodate the availability of witnesses, to account for University breaks or
                vacations, to account for complexities of a case, including the number of
                witnesses and volume of information provided by the parties, or for other
                legitimate reasons. The Investigator will notify the patties in writing of any
                extension of this timeframe and the reason for such extension.

             e) Overview of Investigation. During the investigation, the parties will have an
                equal opportunity to be heard, to submit information and corroborating
                evidence, to identify witnesses who may have relevant information, and to
                submit questions that they believe should be directed by the Investigator to each
                other or to any witness. The Investigator will notify and seek to meet separately
                with the Complainant, the Respondent, and third-party witnesses, and will
                gather other relevant and available evidence and information, including,
                without limitation, electronic or other records of communications between the
                patties or witnesses (via voice-mail, text message, email and social media sites),
                photographs (including those stored on computers and smattphones), and
                medical records (subject to the consent of the applicable patty).

             f) Advisors. Throughout the investigation and resolution process, each party has
                the right to choose and consult with an advisor. The advisor may be any person,
                including an attorney, who is not otherwise a patty or witness involved in the
                investigation. The patties may be accompanied by their respective advisors at
                any meeting or proceeding related to the investigation and resolution of a report
                under these Procedures. While the advisors may provide support and advice to
                the parties at any meeting and/or proceeding, they may not speak on behalf of
                the parties or otherwise patticipate in, or in any manner disrnpt, such meetings
                and/or proceedings.

             g) Prior or Subseguent Conduct. Prior or subsequent conduct of the Respondent
                may be considered in determining pattern, knowledge, intent, motive, or
                absence of mistake. For example, evidence of a pattern of Prohibited Conduct
                by the Respondent, either before or after the incident in question, regardless of
                whether there has been a prior finding of a Policy violation, may be deemed
                relevant to the determination ofresponsibility for the Prohibited Conduct under
                investigation. The determination of relevance of pattern evidence will be based
                on an assessment of whether the previous or subsequent conduct was
                substantially similar to the conduct under investigation or indicates a pattern of
                similar Prohibited Conduct. Such prior or subsequent conduct may also
                constitute a violation of the PADH policy and/or the University's Standards of
                Conduct, in which case it may subject the Respondent to additional sanctions.
                The Investigator will determine the relevance of this information and both
                patties will be informed if evidence of prior or subsequent conduct is deemed
                relevant.

             h) Prior Sexual History. The sexual history of a Complainant or Respondent will
                never be used to prove character or reputation. Moreover, evidence related to
                the prior sexual history of either of the patties is generally not relevant to the
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                determination of a Policy violation and will be considered only in limited
                circumstances. For example, ifthe existence of Affomative Consent is at issue,
                the sexual history between the parties may be relevant to help understand the
                manner and nature of communications between the parties and the context of
                the relationship, which may have bearing on whether Affirmative Consent was
                sought and given during the incident in question. However, even in the context
                of a relationship, Affirmative Consent to one sexual act does not, by itself,
                constitute Affirmative Consent to another sexual act, and Affirmative Consent
                on one occasion does not, by itself, constitute Affirmative Consent on a
                subsequent occasion. In addition, prior sexual history may be relevant to explain
                the presence of a physical injury or to help resolve another question raised by
                the report. The Investigator will determine the relevance of tbis information and
                both parties will be informed if evidence of prior sexual history is deemed
                relevant.

             i) Relevance. The Investigator has the discretion to determine the relevance of
                any proffered evidence and to include or exclude ce1tain types of evidence. In
                general, the Investigator will not consider statements of personal opinion, rather
                than direct observations or reasonable inferences from the facts, or statements
                as to any patty's general reputation for any character trait.

             j) Site Visit(s). The Investigator may visit relevant sites or locations and record
                observations through written, photographic, or other means.

             k) Expert Consultation(s). The Investigator may consult medical, forensic,
                technological or other experts when expertise on a topic is needed in order to
                achieve a fuller understanding of the issues under investigation.

             1) Coordination with Law Enforcement. The Investigator will contact any law
                enforcement agency that is conducting its own investigation to inform that
                agency that a University investigation is also in progress; to ascertain the status
                of the criminal investigation; and to determine the extent to which any evidence
                collected by law enforcement may be available to the University in its
                investigation. At the request of law enforcement, the Investigator may delay
                the University investigation temporarily while an external law enforcement
                agency is gathering evidence. The Investigator will promptly resume the
                University investigation when notified that law enforcement has completed the
                evidence-gathering stage of its criminal investigation.

            m) Draft Investigation Repmt. At the conclusion of the investigation, the
               Investigator will prepare a Draft Investigation Report summarizing the
               information gathered and outlining the contested and uncontested information.
               The Draft Investigation Report will not include any findings. The Complainant
               and the Respondent will have an opportunity to review the Draft Investigation
               Report; meet with the Investigator; submit additional comments and
               infmmation to the Investigator; identify any additional witnesses or evidence
               for the Investigator to pursue; and submit any further questions that they believe

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                should be directed by the Investigator to the other party or to any witness. The
                Investigator will designate a reasonable time for this review and response by
                the parties, not to exceed five (5) calendar days. In the absence of good cause,
                information discoverable through the exercise of due diligence that is not
                provided to the Investigator during the designated review and response period
                will not be considered in the determination of responsibility for a violation of
                the Policy, and will not be considered by the Review Panel.

             n) Final Investigation Report. Unless there are significant additional investigative
                steps requested by the parties or identified by the Investigator, within five (5)
                calendar days after receipt and consideration of any additional comments,
                questions and/or information submitted by the parties during the designated
                review and response period, the Investigator will prepare a Final Investigation
                Report, which will include a recommendation as to whether there is sufficient
                evidence, by a Preponderance of the Evidence, to support a finding of
                responsibility for a violation of the Policy (and, where applicable, the PADH
                policy and/or the University's Standards of Conduct). In reaching this
                recommended finding, the Investigator will consult with the Office of
                University Counsel. The Investigator will deliver the Final Investigation
                Report to the Title IX Coordinator. The Title IX Coordinator will notify both
                parties, simultaneously, that the Final Investigation Report is complete and
                available for review.

             o) Recommended Finding(s) ofResponsibilitv. When the Investigator determines
                that there is sufficient evidence, by a Preponderance of the Evidence, to support
                a finding of responsibility on one or more of the allegations, the Respondent
                may accept or contest such recommended finding( s) by so notifying the Title
                IX Coordinator, in writing. If the Respondent accepts the recommended
                finding(s) of responsibility, the Title IX Coordinator will refer the case for a
                Hearing before the Review Panel solely on the issue of sanction, as outlined in
                Section Vl.A.3(g) of these Procedures. If the Respondent contests one or more
                of the recommended finding(s), the Respondent may submit to the Title IX
                Coordinator a written statement explaining why the Respondent contests such
                finding(s). The Title IX Coordinator will ensure that the Complainant has an
                opportunity to review and respond in writing to any such statement. The Title
                IX Coordinator will provide the Final Investigation Report, together with any
                statements by the parties, to the Review Panel for further proceedings as
                outlined in Section VI.A.3 of these Procedures.

             p) Recommended Finding(s) of No Responsibility. When the Investigator
                determines that there is insufficient evidence, by a Preponderance of the
                Evidence, to support a finding of responsibility on one or more of the
                allegations, the Complainant may accept or contest the recommended finding(s)
                by so notifying the Title IX Coordinator, in writing. If the Complainant accepts
                the recommended finding(s) of no responsibility, the investigation will be
                closed and documented in accordance with applicable University policies. If
                the Complainant contests one or more of the recommended finding(s), the
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                 Complainant may submit to the Title IX Coordinator a written statement
                 explaining why the Complainant contests such finding(s). The Title IX
                 Coordinator will ensure that the Respondent has an oppmtunity to review and
                 respond in writing to any such statement. The Title IX Coordinator will provide
                 the Final Investigation Report, together with any statements by the parties, to
                 the Review Panel for further proceedings as outlined in Section VI.A.3 of these
                 Procedures.

             q) Impact and Mitigation Statements. Where there is a finding of responsibility on
                one or more of the allegations, both parties may submit a statement to the Title
                IX Coordinator for consideration by the Review Panel in determining an
                appropriate sanction. The Complainant may submit a written statement
                describing the impact of the Prohibited Conduct on the Complainant and
                expressing a preference about the sanction(s) to be imposed. The Respondent
                may submit a written statement explaining any factors that the Respondent
                believes should mitigate or otherwise be considered in determining the
                sanctions( s) imposed. The Title IX Coordinator will ensure that each of the
                parties has an opportunity to review any statement submitted by the other party.
                The Title IX Coordinator will provide any statement(s) with the Final
                Investigation Report and the parties' other written submissions to the Review
                Panel.

             r) Timing of Investigation. The investigation typically will be completed within
                forty-five (45) calendar days. This period may be extended to account for a
                previous attempt, if any, at Alternative Resolution, or for other good cause, as
                described Section VI.A.l(d) of these Procedures. Any extension, other than for
                Alternative Resolution, and the reason for the extension, will be shared with the
                parties in writing.

          2. Acceptance of Responsibility. The Respondent may, at any time, elect to resolve
             the Formal Resolution process by accepting responsibility for the Prohibited
             Conduct, in which case the Title IX Coordinator will refer the matter to the Review
             Panel to determine the appropriate sanction(s).

          3. Review Panel Hearing. The Title IX Coordinator will appoint a standing pool of
             trained members of the University community and, at the discretion of the Title IX
             Coordinator, external professionals with experience adjudicating cases of
             Prohibited Conduct. The Title IX Coordinator will select (a) three members from
             this pool to serve on the Review Panel, and (b) an additional member from this pool
             to serve as the non-voting Hearing Chair. The Review Panel will review the
             Investigator's recommended finding(s) and, if applicable, determine any
             appropriate sanction(s) under these Procedures. All persons serving on any Review
             Panel (or as the Hearing Chair) must be impartial and free from actual bias or
             conflict of interest.

             a) Standard of Review. If either of the parties contests the Investigator's
                recommended finding(s) of responsibility (or no responsibility) for an alleged
                                                                                         Page 16

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                violation of the Policy, the Review Panel will hold a Hearing to determine(!)
                whether the concerns stated by the contesting party raise substantial doubt about
                the thoroughness, fairness and/or impattiality of the investigation; and, if not,
                (2) whether there is sufficient evidence to supp01t the Investigator's
                recommended finding(s) by a Preponderance of the Evidence.

             b) Notice and Timing of Hearing. Typically, a Hearing will be held within fifty-
                five (55) calendar days from the date of the Notice oflnvestigation, subject to
                extension for good cause, as described in Section VI.A.I (d) of these Procedures.
                The Hearing Chair will notify the parties in writing of the date, time, and
                location of the Hearing; the names of the Review Panel members and the
                Hearing Chair; and how to challenge participation by any member of the
                Review Panel or the Hearing Chair for bias or conflict of interest. The Hearing
                will usually be scheduled within five (5) calendar days from the date of the
                Notice of Hearing, subject to extension for good cause at the discretion of the
                Title IX Coordinator. Good cause for extension may include the unavailability
                of the parties, the timing of semester breaks or University holidays, or other
                extenuating circumstances. Any extension, including the reason for the
                extension, will be shared with the parties in writing.

             c) Postponement of Hearing. Permission to postpone a Hearing may be granted
                provided that the request to do so is based on a compelling emergency and
                communicated to the Hearing Chair prior to the time of the Hearing.

             d) Hearing Format. The Hearing is an opportunity for the parties to address the
                Review Panel, in person about issues relevant to the Standard of Review to be
                applied by the Review Panel. The patties may address any infmmation in the
                Final Investigation Repmt, supplemental statements submitted in response to
                the Final Investigation Repmt, and any impact and mitigation statements. Each
                patty has the opp01tunity to be heard, to identify witnesses for the Review
                Panel's consideration, and to respond to any questions of the Review Panel.
                The patties may not directly question each another or any witness, although
                they may proffer questions for the Review Panel, which may choose, in its
                discretion, to pose appropriate and relevant questions to the Investigator, the
                parties and/or any witnesses. A typical hearing may include brief opening
                remarks by the Complainant and/or Respondent, with follow-up questions
                posed by the Review Panel; information presented by the Investigator or
                witnesses deemed relevant by the Review Panel, with follow-up questions by
                the Review Panel of the Investigator or witnesses; and brief concluding remarks
                by the Complainant and/or Respondent. The Chair of the Review Panel has the
                discretion to determine the specific Hearing format.

             e) Patticipation in Hearing.

                 i. Parties. Both the Complainant and the Respondent have a right to be present
                    at the Hearing. Either party may request alternative methods for participating
                    in the Hearing that do not require physical proximity to the other patty,
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                   including participating through electronic means. This request should be
                   submitted to the Hearing Chair at least two (2) calendar days prior to the
                   Hearing.

                   If, despite being notified of the date, time, and location of the Hearing, either
                   party is not in attendance, the Hearing may proceed and applicable sanctions
                   may be imposed. Neither paiiy is required to participate in the Hearing in
                   order for the Hearing to proceed.

               11. Investigator or other witnesses. The Review Panel may request the presence
                   of the Investigator or any other witness it deems necessary to its
                   determination. The patiies may also request the presence of any witness they
                   deem relevant to the determination by the Review Panel. The Review Panel
                   has absolute discretion to determine which witnesses are relevant to its
                   determination and may decline to hear from witnesses where it concludes
                   that the information is not necessary for its review.

               iii. Advisors. Both the Complainant and the Respondent have the right to be
                    accompanied at the Hearing by an advisor of their choosing. The advisor
                    may be anyone, including an attorney, who is not otherwise a party or
                    witness. While the advisor may provide support and advice to a pa1iy at the
                    Hearing, the advisor may not speak on behalf of the patiy or otherwise
                    participate in, or in any manner disrupt, the Hearing. The University reserves
                    the right to remove any individual whose actions are disruptive to the
                    proceedings.
             f) Determination by the Review Panel. Where either of the parties has contested
                the recommended finding(s) ofresponsibility, the members of the Review Panel
                will, at the conclusion of the Hearing, determine, by majority vote, (1) whether
                the concern(s) stated by the contesting party raise substantial doubt about the
                thoroughness, fairness, and/or impartiality of the investigation; and, if not, (2)
                whether there is sufficient evidence to suppo1i the Investigator's recommended
                finding(s) by a Preponderance of the Evidence.
                If the Review Panel finds that concerns stated by the contesting party raise
                substantial doubt about the thoroughness, fairness, and/or impartiality of the
                investigation, it will remand the matter to the Title IX Coordinator with
                instructions for further investigation or other action. The instructions may
                include guidance regarding the scope of information to be further investigated
                and any appropriate stipulations, including the appointment of a new
                Investigator.

                If the Review Panel finds no cause for substantial doubt about the thoroughness,
                fairness, and/or impa1iiality of the investigation, but determines there is
                insufficient evidence to support the Investigator's recommended finding, it may
                remand the matter for further investigation, or reject the Investigator's
                recommended finding(s) and make alternative finding(s).

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                Ifthe Review Panel finds no cause for substantial doubt about the thoroughness,
                fairness, and/or impaitiality of the investigation and affitms that there is
                sufficient evidence to support a recommended finding of responsibility by a
                Preponderance of the Evidence, it will then determine, by majority vote, the
                appropriate sanction(s) for the Prohibited Conduct.

                If the Review Panel finds no cause for substantial doubt about the thoroughness,
                fairness, and/or impartiality of the investigation and affirms a recommended
                finding of no responsibility, the matter will be considered resolved and the
                investigation will be closed. The Title IX Coordinator may neve1theless ensure
                that remedial measures remain in effect to supp01t a Complainant.

             g) Sanctions. Where there is a finding of responsibility, the Review Panel may
                impose one or more sanctions. Sanctions may include any of the sanctions that
                are available for violations of the University's Standards of Conduct, including:

                    •   Expulsion: Termination of student status for any indefinite period.
                    •   Suspension: Exclusion from classes and other privileges or activities or
                        from the University for a definite period of time.
                    •   Suspension held in abeyance: Exclusion from classes and other
                        privileges or activities or from the University for a definite period of
                        time to be enforced should another violation occur.
                    •   Restitution: Reimbursement for damages or misappropriation of
                        property.
                    •   Disciplinary Probation: Exclusion from paiticipation in privileged or
                        extracurricular activities for a definite period of time.
                    •   Reprimand: A written censure for violation of the Policy (and, if
                        applicable, the PADH policy and/or the Standards of Conduct) placed
                        in the Student's record, including the possibility of more severe
                        disciplinary sanctions should another violation occur within a stated
                        period of time.
                    •   Warning Notice: A notice, in writing, that continuation or repetition of
                        conduct found wrongful, within a period of time stated in the warning,
                        may be cause for more severe disciplinary action.
                    •   Admonition: An oral statement that the Student violated the Policy (and,
                        if applicable, the PADH policy and/or the Standards of Conduct).

                 The Policy prohibits a broad range of conduct, all of which is serious in nature.
                 The propriety of any particular sanction is reviewed on an individual basis
                 based on the unique facts and circumstances as found by the Review Panel. In
                 keeping with the University's commitment to foster an environment that is safe,
                 inclusive, and free from discrimination and harassment, the Policy provides the
                 Review Panel with wide latitude in the imposition of sanctions tailored to the
                 facts and circumstances of the Prohibited Conduct, the impact of the conduct
                 on the Complainant and University community, and accountability by the
                 Respondent. The imposition of sanctions is designed to eliminate Prohibited

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                Conduct, prevent its recurrence, and remedy its effects, while supporting the
                University's educational mission and legal obligations. Sanctions may include
                educational, restorative, rehabilitative, and punitive components. Some
                conduct, however, is so egregious in nature, harmful to the individuals involved
                or so deleterious to the educational process that it requires severe sanctions,
                including suspension or expulsion from the University.

                Once the Review Panel has determined that there is sufficient evidence, by a
                Preponderance of the Evidence, to support a finding of responsibility under the
                Policy, any one or more sanctions may be imposed. In determining the
                appropriate sanction(s), the Review Panel will be guided by a number of
                considerations, including:

                   •   The severity, persistence or pervasiveness of the Prohibited Conduct;
                   •   The nature or violence (if applicable) of the Prohibited Conduct;
                   •   The impact of the Prohibited Conduct on the Complainant;
                   •   The impact or implications of the Prohibited Conduct within the
                       University community;
                   •   Prior misconduct by the Respondent, including the Respondent's
                       relevant prior disciplinary history, at the University or elsewhere, and
                       any criminal convictions;
                   •   Whether the Respondent has accepted responsibility for the Prohibited
                       Conduct;
                   •   The maintenance of a safe, nondiscriminatory and respectful
                       environment conducive to learning; and
                   •   Any other mitigating, aggravating, or compelling factors.

                Sanctions are effective immediately, unless otherwise specified by the Review
                Panel.

                In addition to other sanctions, the Review Panel may direct the Title IX
                Coordinator to impose or extend a No-Contact Directive and impose or extend
                academic, University housing and/or University employment modifications, as
                may be appropriate; impose or extend increased monitoring, supervision, and/or
                security at locations or in connection with activities where the Prohibited
                Conduct occmTed or is likely to reoccur; arrange for conducting targeted or
                broad-based educational programming or training for relevant persons or
                groups; impose one or more restorative remedies to encourage a Respondent to
                develop insight about the Prohibited Conduct, learn about the impact of that
                Prohibited Conduct on the Complainant and the University community, and
                identify how to prevent that Prohibited Conduct in the future (including
                community service and mandatory participation in training, education and/or
                prevention programs related to the Prohibited Conduct); and/or impose any
                other remedial or protective measures that are tailored to achieve the goals of
                the Policy.


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              h) Transcript Notations. If the Review Panel imposes a sanction of expulsion or
                 suspension, the Title IX Coordinator will notify the University Registrar to
                 place a prominent notation on the Respondent's transcript, as described in
                 Section VI.C of these Procedures.

              i) Decision of the Review Panel is Final. The decision of the Review Panel is
                 final, without further recourse or appeal by either party.

              j) Final Outcome Letter. The Review Panel Chair will simultaneously issue a
                  written decision (the "Final Outcome Letter") to both the Complainant and the
                  Respondent, with a copy to the Title IX Coordinator, within five (5) calendar
                  days following the Review Panel Hearing (or such longer time as the Chair may
                  for good cause determine). The Final Outcome Letter will set forth the
                  violation(s) of the Policy (and, if applicable, the PADH policy and/or the
                  Standards of Conduct) for which the Respondent was found responsible or not
                  responsible, as supported by the rationale set forth in the Final Investigation
                  Report and/or modified by the Review Panel; the sanction(s) (if applicable)
                  imposed against the Respondent; and the rationale for any sanction(s) imposed.
                  The Final Outcome Letter may also identify protective measures implemented
                  with respect to the Respondent or the broader University community. The Final
                  Outcome Letter will not disclose any remedial measures provided to the
                  Complainant.
              k) Release of Documents. Under federal privacy laws, the Final Investigation
                 Report, statements of one party that are shared with the other party in the
                 resolution process, and any documents prepared by the University, including
                 documents by or for the Review Panel in advance of the Hearing, constitute
                 education records which may not be disclosed outside of the proceedings,
                 except as may be required or authorized by law. The University does not,
                 however, impose any restrictions on the parties regarding re-disclosure of the
                 incident, their participation in proceedings under these Procedures, or the Final
                 Outcome Letter.
       B. ALTERNATIVE RESOLUTION

       The Complainant may seek Alternative Resolution in place of an investigation and Formal
       Resolution. The University, however, has the discretion to determine whether the nature
       of the reported conduct is appropriate for Alternative Resolution, to dete1mine the type of
       Alternative Resolution that may be appropriate in a specific case, and, pursuant to Section
       V.C of these Procedures, to refer a repmt for Formal Resolution at any time. In addition,
       Alternative Resolution may not be available where the Evaluation Panel has determined
       that one or more of the Risk Factors listed in Section V.B.l of these Procedures is present.
       Forms of Alternative Resolution that involve face-to-face meetings between the
       Complainant and the Respondent, such as mediation, are not available in cases
       involving Sexual Assault.

       Paiticipation in Alternative Resolution (including any specific form of Alternative

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       Resolution) is voluntary. The University will not compel a Complainant or Respondent to
       engage in Alternative Resolution, will not compel a Complainant to directly confront the
       Respondent, and will allow a Complainant or Respondent to withdraw from Alternative
       Resolution at any time. The University may decline the request for Alternative Resolution
       in any particular case and may terminate an ongoing Alternative Resolution process at any
       time. Pursuing Alternative Resolution does not preclude later use of Formal Resolution if
       the Alternative Resolution fails to achieve a resolution acceptable to the parties and the
       University. Where the Complainant or the Respondent withdraws from Alternative
       Resolution or Alternative Resolution is otherwise terminated for any reason, any
       statements or disclosures made by the parties during the course of the Alternative
       Resolution may be considered in a subsequent investigation and Formal Resolution.

       With any form of Alternative Resolution, each party has the right to choose and consult
       with an advisor. The advisor may be any person, including an attorney, who is not
       otherwise a party or witness to the reported incident(s). The parties may be accompanied
       by their respective advisors at any meeting or proceeding held as part of Alternative
       Resolution. While the advisors may provide supp01t and advice to the parties at any
       meeting and/or proceeding, they may not speak on behalf of the paities or othe1wise
       participate in, or in any manner disrupt, such meetings and/or proceedings.

        Alternative Resolution may include:

               •   Resolution with the Assistance of a Third Party: A Complainant may seek
                   assistance in informally resolving a rep01t of Prohibited Conduct from the Title
                   IX Coordinator, who can arrange to have a trained representative facilitate a
                   meeting or meetings between the patties. The availability of this form of
                   Alternative Resolution, and any resolution reached through such form of
                   Alternative Resolution, is subject to the agreement of the Title IX Coordinator,
                   the Complainant and the Respondent. This form of Alternative Resolution may
                   not be used where the allegation involves Sexual Assault.
               •   Interventions and Remedies: Alternative Resolution agreements may involve a
                   host of interventions and remedies, such as actions designed to maximize the
                   Complainant's access to educational, extracmTicular, and/or University
                   employment activities; increased monitoring, supervision, and/or security at
                   locations or activities where the Prohibited Conduct occmTed or is likely to
                   reoccur; targeted or broad-based educational programming or training for
                   relevant individuals or groups; academic and/or University housing
                   modifications for Student Complainants; workplace modifications for
                   Employee Complainants; one or more of the restorative remedies or other
                   sanctions described in these Procedures; and/or any other remedial or protective
                   measures tbat can be tailored to the involved individuals to achieve the goals of
                   the Policy.

        Any form of Alternative Resolution and any combination of interventions and remedies
        may be utilized. If an agreement acceptable to the University, the Complainant, and the
        Respondent is reached through Alternative Resolution, the terms of the agreement are
        implemented and the matter is resolved and closed. If an agreement is not reached, and the
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       Title IX Coordinator determines that further action is necessary, or if a Respondent fails to
       comply with the terms of the Alternative Resolution, the matter may be referred for an
       investigation and Formal Resolution under these Procedures.

       The Title IX Coordinator will maintain records of all reports and conduct refened for
       Alternative Resolution, which typically will be completed within thirty (30) calendar days.

       C. ACADEMIC TRANSCRIPT NOTATIONS

       Pursuant to Va. Code §23-9.2:18, the Title IX Coordinator will direct the University
       Registrar to include a prominent notation on the academic transcript of any Student who
       has been (1) suspended, (2) expelled (i.e., permanently dismissed), or (3) who has
       withdrawn from the University while under investigation, for Prohibited Conduct pursuant
       to the Policy. Such notation will reflect, as appropriate, the following language:
       "[Suspended, Expelled, or Withdrew While Under Investigation] for a Violation of the
       University's Policy on Sexual and Gender-Based Harassment and Other Forms of
       Interpersonal Violence." The Title IX Coordinator will direct the University Registrar to
       remove any such notation where (a) a Student is subsequently found not to have committed
       an act of Prohibited Conduct pursuant to the Policy, and/or (b) a Student who has been
       suspended for Prohibited Conduct pursuant to the Policy, has (i) completed the term of
       such suspension and any conditions thereof, and (ii) has been determined by the University
       to be in good standing pursuant to all applicable University academic and non-academic
       standards.

       D. RECORDS RETENTION

       The University shall retain all records relating to a report of Prohibited Conduct for a period
       of ten years after the date the report was received, and the University shall retain all of such
       records for a period of twenty years in cases in which the Respondent was found
       responsible for Prohibited Conduct.




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                                                                                   APPENDIX A-1


                                   UNIVERSITY OF VIRGINIA

       RESOURCE AND REPORTING GUIDE FOR STUDENTS

                 POLICY ON SEXUAL AND GENDER-BASED HARASSMENT
                   AND OTHER FORMS OF INTERPERSONAL VIOLENCE



  The University of Virginia (the "University") is committed to providing a safe and non-
  discriminatory environment for all members of the University community. The University
  prohibits Sexual Assault, Sexual Exploitation, Intimate Partner Violence, Stalking, Sexual and
  Gender-Based Harassment, Complicity and Retaliation (together, "Prohibited Conduct"). These
  forms of Prohibited Conduct are defined in the University's Policy on Sexual and Gender-Based
  Harassment and Other Forms of Interpersonal Violence (the "Policy"). This Resource and
  Reporting Guide, referred to as the "Student Resource Guide" in the Policy, provides an
  overview of University and community resources, including confidential resources, and options
  for reporting Prohibited Conduct to law enforcement and/or to the University. 1

  When used in this Student Resource Guide, the term "Student" refers to Complainants,
  Respondents, witnesses or any other University student in need of information, assistance, or
  support. As outlined in the Policy, the University offers a wide range of resources for Students
  to provide support and guidance throughout the initiation, investigation and resolution of a
  report of Prohibited Conduct. The University will offer reasonable and appropriate measures to
  protect a Complainant and facilitate the Complainant's continued access to University
  employment or education programs and activities. These measures may be both remedial
  (designed to address a Complainant's safety and well-being and continued access to educational
  opportunities) or protective (involving action against a Respondent). Remedial and protective
  measures, which may be temporary or permanent, may include no-contact directives, residence
  modifications, academic modifications and suppmt, work schedule modifications, interim
  disciplinary suspension, suspension from employment, and pre-disciplinary leave (with or
  without pay). Remedial measures are available regardless of whether a Complainant pursues
  criminal or University disciplinary action.




  1
    This Resource Guide should be read in conjunction with the Policy. Capitalized terms used and not
  otherwise defined in this Resource Guide are defined in the Policy.
                                                                                              Page I



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  I.         UNIVERSITY AND COMMUNITY RESOURCES
             A. EMERGENCY MEDICAL, LAW ENFORCEMENT AND CRISIS RESPONSE
                RESOURCES

                 1. Medical Assistance: An individual who experiences sexual assault or any other
                      form of interpersonal violence is strongly encouraged to seek immediate medical
                      attention at the University's Emergency Department.


                        U.Va. Medical Center Emergency                                      1215 Lee Street, Charlottesville
                        Depattment
                                                                                                                  (434) 924-2231


                      The University's Medical Center is the only hospital in Charlottesville where an
                      individual can receive a forensic sexual assault examination by a Sexual Assault
                      Nurse Examiner (also known as "SANE Nurse"). SANE Nurses can assess
                      injuries related to physical trauma; evaluate for sexually-transmitted infections
                      and possible pregnancy; provide medical care (including medications to prevent

                                                                                                                                 Page2



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                 infections and pregnancy); and can, within the first 72 hours after a sexual
                 assault, administer a "forensic exam." 2 During the forensic exam, the SANE
                 Nurse documents and collects evidence of sexual contact and/or physical trauma
                 (including injuries to the body and genitals), trace evidence, biological fluids, and
                 identifiable DNA. When there is reason to believe that an assault may have been
                 facilitated by the use of drugs or alcohol, the forensic exam may also include the
                 collection of urine and blood samples for toxicology testing. Students are not
                 required to report an incident to law enforcement or the University in order to
                 receive medical attention or a forensic exam. 3 Students may have a support
                 person of their choosing present throughout the forensic exam. In addition, the
                 Emergency Department ensures that an advocate from the Sexual Assault
                 Resource Agency ("SARA") is available to all patients reporting sexual assault.
                 Students may accept or decline the confidential services of the SARA advocate.

                 Regardless of whether a forensic exam is obtained within the first 72 hours after a
                 sexual assault, Students are encouraged to seek follow-up care to address any
                 ongoing medical concerns, including those related to sexually-transmitted
                 infections and pregnancy. Students may access follow-up care at the University
                 Medical Center, Student Health, or through any appropriate health care provider
                 outside of the University.

             2. Law Enforcement: Students are urged to repmt any Prohibited Conduct that may
                constitute a crime to local law enforcement ("Police") immediately. Police have
                unique legal authority to seek and execute search warrants, to collect forensic
                evidence that may have been left at the scene or at other relevant locations and to
                make an arrest when supported by probable cause to believe a crime has been
                committed. Police are also able to assist Students in seeking Emergency
                Protective Orders (see below).

                 Police can be reached by calling "911" (or one of the other numbers listed below).
                 Students seeking medical attention at the University Emergency Department can
                 ask that Police be called on their behalf.

                  Police Emergency                                                                 911

                  Albemarle County Police                                              (434) 977-9041

                   City of Charlottesville Police                                      (434) 970-3280

                   Universi!)'. Police                                                 (434) 924-7166


  2
    Detailed information about obtaining a forensic exam at the University Medical Center can be accessed
  at http://www.virginia.edu/sexualviole11ce/sexualassault/afteranassault.
  3
    Forensic evidence will be stored for at least 120 days. If the Complainant does not wish to file an
  official police repott, a law enforcement officer will make a brief, anonymous repott (containing no
  personally identifiable information), and explain when, where and why the evidence will be held.
                                                                                                  Page 3



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             Incidents that occur on-Grounds fall within the jurisdiction of the University
             Police; incidents that occur off-Grounds within the City of Charlottesville or
             within Albemarle County fall within those Police jurisdictions, respectively.
             Students will be directed to the appropriate Police Department when they call
             "911" or by contacting the University Police Department's Victim/Witness
             Assistance Program at (434) 924-8845 or (434) 531-5600. The Victim/Witness
             Assistance Program is designed to ensure that victims and witnesses of criminal
             offenses receive fair and compassionate treatment throughout the criminal justice
             process. The Victim/Witness Assistance Officer can provide information and
             resources to assist a Student in understanding a law enforcement investigation or
             criminal prosecution.

          3. Confidential Crisis Resources (Support and Counseling): Students are urged
             to seek immediate emotional support after any incident of Prohibited Conduct.
             There are a number of confidential sources and "hotlines" for crisis counseling,
             both at the University and in the local community. Confidential counselors can
             provide trauma-informed support and offer information about reporting options.

              a) University Confidential Crisis Resources:

               Counseling & Psychological Services                (434) 243-5150 (daytime)
               (CAPS)                                         (434) 972-7004 (evenings and
                                                                                weekends)
               UVA Women's Center                                  (434) 982-2252 (daytime)

              b) Community Confidential Crisis Resources:

               Sexual Assault Resource Agency (SARA)                         (434) 977-7273
               Shelter for HelQ in Emergenc)' (SHE)                          (434) 293-8509
               Family Violence and Sexual Assault                      Call: (800) 838-8238
               Virginia Hotline                                        Text: (804) 793-9999

       B. ONGOING CONFIDENTIAL COUNSELING AND SUPPORT

       Confidential counseling and trauma-informed support are available on an ongoing basis
       at the University, in the local community, and through national "hotlines."

          1. University Confidential Resources:

               Counseling & Psychological Services                           (434) 243-5150
               (CAPS)                                            (434) 972-7004 (after hours)
               Student Health: Gynecology                                     (434) 924-2773


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              Student Health: General Medicine                            (434) 982-3915
                                                              (434) 972-7004 (after hours)
              Student Health: Psychologists in the                       434-243-5180
              Student Disability Access Center (SDAC}                SDAC@Virginia.edu
              The Women's Center: Counseling Staff                         (434) 982-2252
              The McCue Center: Sports Medicine and                        (434) 982-5450
              SQorts Psychology Clinical Staff
              (Serves Student-Athletes)

              UVA Teen and Young Adult Health                              (434) 982-0090
              Center
              (Provides health care for ages 12 to 26)

              Mary D. Ainsworth Psychological Clinic                      (434) 982-4737
              (Clinical training program that generally           ainsw01th@virginia.edu
              does not see patients in crisis)

              Sheila C. Johnson Center for Human                           (434) 924-7034
              Services
              (Clinical training program that generally
              does not see patients in crisis)



          2. Community Confidential Resources:

              Sexual Assault Resource Agency                  Weekdays: (434) 295-7273
              (SARA)                                      24-hour Hotline: (434) 977-7273
              Shelter for Help in Emergency (SHE)                          (434) 293-8509

              Family Violence and Sexual Assault                     Call: (800) 838-8238
              Virginia Hotline                                       Text: (804) 793-9999


           3. National Confidential Resources:

              Rape and Incest National Network                 httns://ohl.rainn.org/online/
              (RAINN) Online Hotline

              National Sexual Assault Hotline                              (800) 656-4673




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       C. LEGAL RESOURCES

       There are several resources that may help Students explore and understand their legal
       rights and options - both criminal and civil - following an incident of Prohibited
       Conduct.

               Sexual Assault Advocac:i: Fund                               www .studentsaaf.org
                                                             Central Virginia Legal Aid Society
                                                                  1000 Preston Avenue, Suite B
                                                                                  434-327-1447
               Student Legal Services               http://www.student.virginia.edu/-stud-lerd
                                                     Newcomb Hall, Room 460 (434) 924-7524
               Virginia Legal Aid                                    http://www.valegalaid.org/

               Legal Aid Justice Center                             httgs://www.justice4all.org/
                                                                  1000 Preston Avenue, Suite A
                                                                     Charlottesville, VA 22903
                                                                         Phone: (434) 977-0553

       D. UNIVERSITY SUPPORT; REMEDIAL AND PROTECTIVE MEASURES

       The Office of the Dean of Students ("ODOS") can provide Students with information,
       support, and assistance and can arrange for a broad range of remedial and protective
       measures. ODOS employees have received training for this purpose and will assist
       Students in determining whether certain forms of support, remedial and/or protective
       measures may be beneficial and appropriate. ODOS employees are Responsible
       Employees and are therefore required to report information disclosed to them about
       Prohibited Conduct to the University's Title IX Coordinator. If a Complainant requests
       (a) that personally-identifying information not be shared with the Respondent, (b) that
       no investigation be pursued, and/or (c) that no disciplinary action be taken, the
       University will seek to honor this request unless there is a health or safety risk to the
       Complainant or to any member of the University community. The Procedures
       outlined in Appendix A provide additional guidance about how the University will
       evaluate such requests.

               Office of the Dean of                                Peabody Hall, Second Floor
               Students                                           DeanofStudents@virginia.edu
                                                              (434) 924-7429 or (434) 924-7133
                                                After hours: (434) 924-7166 for "Dean on Call"

       The availability of remedial and protective measures will be determined by the specific
       circumstances of each case. ODOS, in consultation with the Title IX Coordinator, will
       consider a number of factors in dete1mining which measures to take, including the needs
       of the Student seeking remedial and/or protective measures; the severity or pervasiveness
       of the alleged Prohibited Conduct; any continuing effects on the Complainant; whether
       the Complainant and the Respondent share the same residence hall, dining hall,

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       academic course(s), job or parking location(s); and whether other judicial measures have
       been taken to protect the Complainant (e.g., Protective Orders). When implementing
       such measures, the University will seek to minimize the burden on the Student seeking
       the measures. For example, if the Complainant and the Respondent share the same
       class or residence hall, the University will not, as a matter of course, remove the
       Complainant from the class or residence hall while allowing the Respondent to remain,
       without carefully considering all options and circumstances.

       Protective and remedial measures may be temporary or permanent and may be modified
       by the University as circumstances change. Examples of such measures include:

                • Imposition of a No Contact Directive against an Employee or Student (i.e.,
                  an order directing one or both of the parties to refrain from contacting the
                  other, directly or through proxies);
                • Arranging a meeting with Police to discuss or report Prohibited Conduct;
                • Arranging a meeting with Police to discuss safety planning;
                • Arranging access to counseling services and assistance in setting
                  up initial appointments;
                • Arranging access to medical services and assistance in setting up initial
                  appointments;
                • Assistance in seeking academic assistance, including modified class
                  schedules (including transfer to another section), permission to withdraw
                  from and/or retake a class or attend a class via alternative means (e.g.,
                  online or independent study), extension of assignment deadlines, and
                  voluntary leaves of absence;
                • Assistance in modifying University housing arrangements, including
                  immediate temporary relocation to safe living quarters and/or permanent
                  reassignment of University residence halls;
                • Assistance in modifying assigned parking;
                • Assistance in modifying University employment arrangements, including
                  changes in work schedules, job assignments, work locations and/or assigned
                  parking;
                • Imposing an interim disciplinary suspension and/or pre-disciplinary leave,
                  with or without pay, on the Respondent; and
                • Any other measures that may be arranged by the University (to the extent
                  reasonably available) to ensure the safety and well-being of a Student who
                  has been affected by Prohibited Conduct.

       In some cases, a Student may choose to seek a leave of absence or a reduced course load;
       these actions may, in turn, impact a Student's immigration, visa and/or financial aid
       status. In such cases, ODOS will connect Students with the applicable University
       department or unit so that they may obtain relevant information and assistance.

       ODOS will ensure Students receive written notification of all their rights and options,
       regardless of whether a Student chooses to report Prohibited Conduct to the University or
       to the Police.
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  II.    REPORTING PROHIBITED CONDUCT

  Students may report Prohibited Conduct to the Police, to the University, to both or to neither.
  These reporting options are not exclusive. Complainants may simultaneously pursue criminal
  and University disciplinary action. The University will support Complainants in understanding
  and assessing their repmting options.

         A. PRESERVATION OF EVIDENCE

         The University recognizes that making the decision to repmt Prohibited Conduct often
         takes time. Nevertheless, pending the decision to report, Students are strongly
         encouraged to take immediate steps to preserve all evidence that might support a future
         report of Prohibited Conduct, a Protective Order, or an investigation by the Police, by the
         University, or both. Such evidence may include:

             •   A forensic sexual assault examination (within 72 hours);
             •   Any clothing, sheets or other materials (items containing bodily fluids should be
                 stored in cardboard boxes or paper bags);
             •   Electronic exchanges (e.g., text messages, emails, and Facebook, Instagram,
                 Snapchat or other social media posts, to the extent that they can be captured or
                 preserved);
             •   Photographs (including photographs stored on smaitphones and other devices);
                 and
             •   Voice-mail messages and other physical, documentary and/or electronic data that
                 might be helpful or relevant in an investigation.

         Electronic and photographic evidence may be lost through the upgrade or replacement of
         equipment (including smartphones), software and/or accounts or may simply be lost to
         the passage of time.

         B. REPORTING TO THE POLICE

         Students have the right to notify Police or decline to notify Police. Students may
         contact the Police directly (see Section I, above). Alternatively, Students may seek
         assistance in notifying Police from ODOS. ODOS can assist in setting up an initial
         meeting with Police and can accompany Students to that meeting. Filing a Police
         report does not obligate a Student to participate in any subsequent criminal proceedings.
         Although a Police report may be made at any time, Students should be aware that a
         one-year statute of limitations may apply to ce1tain misdemeanors in Virginia.

         C. REPORTING TO THE UNIVERSITY

         The University strongly encourages Students who have experienced, have knowledge of,
         or have witnessed Prohibited Conduct to make a repmt to the University. Under Title IX,
         once an institution has notice of an act of Prohibited Conduct, it is required to (I) take
         immediate and appropriate steps to investigate or otherwise dete1mine what occurred;
         and (2) take prompt and effective action to end any misconduct that occurred; remedy its
                                                                                             Page 8



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                                                                                                 Exhibit 5



       effects; and prevent its recurrence. Although there is no time limit for reporting
       Prohibited Conduct to the University, the University's ability to respond may diminish
       over time, as evidence may erode, memories may fade, and Respondents may no longer
       be affiliated with the University. If the Respondent is no longer a Student or an
       Employee, the University will provide reasonably appropriate remedial measures, assist
       the Complainant in identifying external reporting options, and take other reasonable
       steps to respond under Title IX. Making a report to the University does not require
       participation in any subsequent University proceedings, nor is a report required in order
       for a Student to receive support or remedial measures.

       Students are encouraged to report Prohibited Conduct through Just Report It, the
       University's website for online repmting (which also allows for anonymous reporting), or
       by contacting the Title IX Coordinator or ODOS:


                Just Repo1t It                        http://www. virginia.ed u/j ustre1201tit/title ix -
                                                                                                 vawa
                (also for anonymous reports)
                                                                      Peabody Hall, Second Floor
                ODOS
                                                                 Business hours: (434) 924-7133
                                                 After hours: (434) 924-7166 for "Dean on Call"
                Emily Babb, Assistant Vice                             O'Neil Hall, Terrace Level
                President for Title IX                                                 Room 037
                Compliance/Title IX                              titleixcoordinator@virginia.edu
                Coordinator                                                       (434) 297-7988

                Akia Haynes, Deputy Title
                IX Coordinator

       Students should be aware that all disclosures of Prohibited Conduct to any "Responsible
       Employee" will be reported, as required by University Policy, to the Title IX
       Coordinator. A Responsible Employee is any University Employee who is not a
       Confidential Employee.         A list of Confidential Employees is posted here:
       htt12://www.virginia.edu/justreportit/confidential resources.pdf.

       Upon receipt of a report of Prohibited Conduct, the University will conduct an initial
       assessment, a threat assessment, and take any immediate action that may be necessary to
       protect the health and safety of the Student and the University community, as described
       in the Procedures attached as Appendix A and Appendix B to the Policy.

       D. SEEKING A PROTECTIVE ORDER

        Where Prohibited Conduct is reported to the Police, it may be possible to obtain a court-
        ordered Emergency or Preliminary Protective Order. These Protective Orders may be
        issued if the judge or magistrate believes that there is an immediate threat to health or
        safety. Later, after a full hearing, the court may agree to issue a "Permanent" Protective
        Order, in appropriate cases. A Permanent Protective Order may remain in place for up to

                                                                                                 Page 9



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                                                                                          Exhibit 5



       two years under Virginia law and, in some cases, may be extended for an additional two
       years. "Protective Orders" are separate and distinct from "No Contact Directives"
       (described above). Protective Orders may be obtained only from a court of law and are
       enforceable anywhere in the United States; their violation may result in criminal charges.
       In contrast, No Contact Directives may be obtained from ODOS and are enforceable
       through the University.        ODOS can airnnge and/or attend a meeting with the
       University Police Department's Victim/Witness Assistance Coordinator, who can explain
       the process for seeking a Protective Order and can esco1t a Student to the appropriate
       office in order to initiate a petition seeking a Protective Order.




                                                                                         Page 10



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SEXUAL AND GENDER-BASED VIOLENCE
WHAT STUDENTS NEED TO KNOW
                                                                                                                                                           NOTONOUR
                                                                                                                                                            GROUNDS
                                                                                                                                                                   ..
                                                                                                                                                           Exhibit 6




Obtaining Information, Assistance and Support; Reporting Options
     If you have experienced sexual or gender-based             The":t6rnt'!'.~e)(Ual.and ge.rld.~t·b.8sed.VioJehC_en is gs_e_d:here as a_n u_mbi'ella ~erm _to
     violence, there are a nurnber of ways to report              refer to all ~Pr_ohl_~_ite~- CondU~~·:"_a~_:defi1ie_d 1!1 _t'h,e Un1vers1ty:s Polley o_n
     the incident and multiple channels for                    - ~exua,i ~nd_ .G_ender~_Ba~ed-Hflrass1nent,a11_d other fortns,oft_n_t~rp~rso_n~i
     obtaining information, assistance and support               VJplenoe, {the ".P_ollcyn).:.P~o_t1l~lte_~ _Conc;l:u.ct Includes SeX_ua\:·~;;iu_lt, $~xu,BI
                                                                  Exp_lo!tz1t1on._-ln~mate_ P~rtner_ Vl_ple_1~9e, Stal~ing, _sexual a1_1_d ._Gender~Bas_~d
     to ensure your health and safety, both physical
                                                                  Hfi_r~s_S1n_ent. _ cornpH0_1_zy (111_th~-.~~-rrlll_1iss}on_ of Bny sue~ C:~nd_uct), and . _-
     and emotional. This lnfographic provides an                 'R€1~(111~t1()_0 :a~~ln~~ _a?>.' per~o~ -for rria_ktnfil; a_ gqo_d_-falth' repOrt- pf Pro_hlblted
     overview of your options. Detailed information             -?ond_ll._~t_:or, particip~tl_\1g.ln any.· p1·06e19_~fng$.und_e·r_.th_e Policy. pet_~He_d
     can be found in the Resource Guide for Students             defi11ltlo11s _ oftt:ie~_e ~11_d _o_t~.,r_key tenn,S,- incl~_dl11g "~fflrln~tlve Con;;enr-. and --
      (http://bit.ly/ 1JN4vBM) and on the Sexual Violence       ·_·'.incl:lpa-cl~~!pn_" .are sefforth ·h)_ th-e_-R_olicy.:' ·: _-_--_: _-,_: _.-__         -
      Education & Resources website (the "SVWebsite"), at        hit1:1://e_ocr.vJrg_10ta!ed_u/pollcleS-Proce_dures~and~reSources
     www.vlrginla.edu/sexualviolence.


Q      IMMEDIATELY AFTER INCIDENT
                                         Report to any police officer, In person, or by
      You are strongly                   calling one of the numbers to the right. If you


                            8
                                                                                                     HOW TO CONTACT)liEPOLICE
      encouraged to            Q         seek medical attention at the UVA
      report sexual                      Emergency Department (see below), you                       E:t!l<ir/tency: Non.,,mergency:                 •·•       .
                                         may ask to tnake a police report at the                   . 911                · • Albernarle county PollGe: (434)
      and                                                                                                                  977'9041
                                         hospital. Reporting to police will not
      gender-based                       affect your ability to pursue resolution                                       < • City af Pharlott~svHle Police: (4$4)
      violence to the                    through the University process (see next                                          91oca2ao.
      police.                            page). The University's process is
                                         independent of the criminal process.




                              T
                                         You may obtain medical attention at any
      You are strongly...._,,._          facility. However, the UVA Hospital                WHERETO GO FOR CONFIDENTIAL MEDICALAITTNTION
       encouragedto                      E1nergency Department and UVA Student              24_h~urS/i~S~_-a_week- · Regu_l;irb.u$Jn~ss-hoq'r$
                                         Health are the only local healthcare             ·.-·--UVA Hospi~al _ER        • :El~on s~ud_ ent H_ealth-_Ctr
       seek medical                      facilities with nurses (called "SANE                   ~215-t'ee_sfreet          40013ran~on-Avenue-
       attention.                         nurses") who are specially trained to                (434) 924·2.23.1         . (434) 924-$362
                                          perform a forensic sexual assault                                               www.v1rg1n1a.edu/atudent11e"lth ..
                                          examination that preserves evidence within the first 72 hours after an assault. These include
                                          assessment for injuries, as well as prevention of sexually-transmitted infections and pregnancy.
                                          More information about the forensic exam can be found in the Resource Guide for Students
                                          (http://bit.ly/1JN4vBM) and on the SV Website. Students are not required to report an Incident to
                                          law enforcement or the University in order to receive medical attention or a forensic exam. Both
                                          facilities provide other appropriate medical services whether or not a student chooses collection
                                          of forensic evidence.




                             -
      You are strongly                    You may obtain crisis counseling
      encouraged to
                           •jj•
                            ---           and confidential information,
                                                                                                       UVA CONFIDENTIAL CRISIS RESOURCES
                                                                                                     • :UVA'_ c9i}rtseUiig al)d PsycholOg"iC:aLS8rVices (~CAPS"');
                                          advice and support through any of                             (434) 243·5150 (dayllme); (434) 972: 7004 (evenings/weekend$)
      seek confiden-                      the sources listed to the right.                           •UVAWomen's Cen~r; (434) 982-2252 (dayllme)
      tial counseling.                                                                               COMMUNITY CONFIDENTIAL CRISIS RESOURCES
                                                                                                      • Sexu~I k;sa~lt Resource Age~cy ("SARA"); (434) m~1273 •
                                                                                                    · • Shelt~r for Help In E1Tiergency ("SHE"): (434) 293-8509       ·
                                                                                                      •'-F~illllYViqlehcti 8nd seXuai'ASSault Virglnla -HoUl_ne;
                                                                                                      · !(BOO) 838·8238



                                                                                                                  fJ ·           SeekingEmoti()nal Support

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                                                                                                                                     Exhibit 6




•        OTHER INFORMATION, ASSISTANCE AND SUPPORT
         There are many
         sources of
         information,
         assistance and
                          Atthe University, confidential support is available through CAPS (434) 243-5150, the Women's Center (434)
                          982-2252, and at Student Health (434) 924-5362 (in the departments of Gynecology, General Medicine, and
                          the Student Disability Access Center).
         support at the   In the Charlottesville Community, confidential support is available through SARA (434) 977-7273 and SHE (434)
         University and   293-8509. Detailed contact information and a list of other sources of confidential support is contained on the
         in the commu-    SV Website: www.virginia.edu/sexualviolence.

         nity.
                          University Measures: ODOS can arrange for a broad
                          range of protective and remedial measures,
                          including (1) a "No-Contact Directive," which is            · WHO TO COl'ITACT
                          enforceable through the Standards of Conduct,                .Offlceof th.e·Dean of St~dents (''ODOs'l Dean .on ca.II:
                          and (2) appropriate and available academic,                  ODOSprovides.24-hour crisis management·
                          University housing and/or university employment              _serviqest       _,
                          modifications. Information you share with ODDS will be       During regular l)usiness IJOurs, call ODOS at (434)
                                                                                       924-7133.              .      . . .                ..
                          evaluated to assess Individual and community safety
                          consistent with UNIVERSITY OBLIGATIONS outlined below.
                          Remedial measures are available regardless of whether a student pursues a report or investigation under the
                          Policy. The Resource Guide for Students (http://blt.ly/1JN4vBM) describes such measures in detail.

                          Judlclal Protective Orders: Where there is an immediate threat to health or safety, it may also be possible to
                          obtain a judicial protective order. ODOS and/or the University Police can provide information and assistance in
                          filing for a protective order.




•        REPORTING OPTIONS
         You may report
         to the police
         and/or to the
         University.
                          You may report to: (1) the police, in which case the Commonwealth's Attorney will decide whether
                          or not to pursue criminal charges, and (2) the University, in which case the University will assess
                          the report and determine the appropriate course of action. You may pursue both or neither of
                          these options. While you may make a report at any time, filing a report immediately after an

                                                                                                                                 ~ixnoriymous Report
                          You 1nay report to the University through its reporting               You may report to the        You may report
                          website, Just Report It:                                              police directly or you may   anonymously through
                          www.virginia.edu/justreportit/titleix-vawa,                           request assistance from      Just Report It:
                          or by contacting the University1s Title IX Coordinator,               ODOS in reporting to the     www.virginla.edu/
                          directly at (434) 297-7988 or titleixcoordinator@Virginla.edu.        police. The critninal        justreportit/titleix-vawa.
                          You may also contact ODOS Dean on Call after hours.                   process is governed by       However, the
                                                                                                applicable criminal          University's ability to
                          You 1nay also pursue University resolution under the
                                                                                                statutes; the standard of    respond to an
                          Policy. The standard of proof under the Policy is a
                                                                                                proof is "beyond a           anonymous report
                          "preponderance of the evidence," and sanctions may
                                                                                                reasonable doubt," and       may be lilnited.
                          include disciplinary action, up to and including
                                                                                                sanctions may include all
                          suspension or expulsion.
                                                                                                applicable cri1ninal


0        UNIVERSITY OBLIGATIONS                                                            ,,
                                                                                                penalties.
                                                                                                      -   '   --

                                                                                           FOR MORE INFORMATION
                                                                                                                       --

                                                                                                                             .        ..
                                                                                           about reporting req~lrelllents and confldenUal resourc~:
                          Once a report of Prohibited Conduct is received, the             '      '              - '·-                .
                          University will conduct an initial assessment, a threat        R~sourne Gu.Ide !or$tlldel1!1;:. http://bit.ly/ill'i4\laM
                          assessment, and take any immediate action that
                          n1ay be necessary to protect the health and safety of individuals and the University community. Depending on the
                          nature and severity of the conduct reported, the University may be required to share all known information,
                          including names, with law enforcement. The University is committed to protecting the safety of the broader
                          University community, which includes reporting crime statistics and, in some cases, issuing incident notifications
                          in accordance with federal law. Most University employees - "Responsible Employees"- are required to report any
                          knowledge of an incident of sexual or gender-based violence or harassment to the University's Title IX Coordinator
                          within 24 hours. Licensed clinical health and mental health care providers are considered confidential resources
Updated: 07/22/2016       and will not report Prohibited Conduct to the University's Title IX Coordinator.
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                                                                                                                      Exhibit 7

                                               lJNivERSITYo/VIRGINIA
                          OFFICE FOR EQUAL OPPORTUNITY AND CIVIL RIGHTS
       Title IX Office· O'Neil Hall, Terrace Level, Room 037 • 445 Rugby Road· Charlottesville, VA22904 • (434) 297-7988



  To assist parties in identifying an advisor, the Title IX Office maintains a list of Charlottesville
  attorneys with knowledge of UVA's Sexual and Gender-Based Harassment and Other Forms of
  Interpersonal Violence Policy and Procedures experience representing students named as
  Respondents in this process. These individuals are offered solely as a resource and the
  University does not endorse any advisor:

  Rhonda Quaqliana
  St. John, Bowling, Lawrence & Quagliana
  416 Park St.
  Charlottesville, VA 22902
  rq@stlawva.com
  (434) 296-7138

  Fran Lawrence
  St. John, Bowling, Lawrence & Quagliana
  416 Park St.
  Charlottesville, VA 22902
  fml@stlawva.com
  (434) 296-7138

  Dave Heilberg
  Dygert, Wright, Hobbs & Heilberg, PLC
  415 4th St NE
  Charlottesville, VA 22902
  dheilberg@charlottesvillelegal.com
  (434) 979-5515

  Andre Hakes
  Tucker Griffin Barnes PC
  307 Rio Rd. W.
  Charlottesville, VA 22901
  ahakes@tgblaw.com
  (434) 973-7474

  For additional attorney referrals, contact:

  Virginia State Bar Lawyer Referral Service: (800) 552-7977;
  http://www.vsb.org/vlrs/index.php/public/vlrs/

  Charlottesville Albemarle Bar Association: (800) 552-7977;
  https:// ca baonli ne.org/

                                                           Mission
   Ensuring equal opportunity and protecting the civil rights of all University community members through proactive
                             outreach, education, and effective response and resolution.

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                                                                             Exhibit 8

Diane Mathews

Subject:                         FW: CONFIDENTIAL TITLE IX MATTER


From: Flood, John J. (jjf3y) [mailto:jjf3y@virginia.edu]
Sent: Wednesday, August 15, 2018 2:12 PM
To:
Cc: Babb, Emily C. (ecb6y); Bassett, Kimberley C (kcb6j); Rhonda Quagliana
Subject: CONFIDENTIAL TITLE IX MATTER

                   :

Good afternoon and I hope this message finds you well. As described in the
Notice of Investigation you received from Emily Babb, I will be investigating
this matter. I would like to meet with you as soon as possible to discuss
the matter. Our office is located at O’Neil Hall, 445 Rugby
Road https://goo.gl/maps/iGotJsBy2F92 .

Please note that you may bring an advisor to this meeting as listed in
Section VI(B)(1)(f) of the Procedures. For convenience, the section has
been included below:

Advisors. Throughout the investigation and resolution process, each party has the right
to choose and consult with an advisor. The advisor may be any person, including an
attorney, who is not otherwise a party or witness involved in the investigation. The
parties may be accompanied by their respective advisors at any meeting or proceeding
related to the investigation and resolution of a report under these Procedures. While the
advisors may provide support and advice to the parties at any meeting and/or
proceeding, they may not speak on behalf of the parties or otherwise participate in, or in
any manner disrupt, such meetings and/or proceedings.

Please preserve and bring any potentially relevant evidence (in any format)
related to this matter to this meeting. Also, if applicable, please reply to
this email with the names of any individuals that you would like for me to
speak to regarding this matter. Please confirm as soon as possible a date
and time that is convenient for you to meet.

I look forward to meeting with you soon. Please do not hesitate to contact
me with any questions you may have.

Sincerely,

John J. Flood
                                                          1
      Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 68 of 92 Pageid#: 502
                                                                            Exhibit 8
John J. Flood
Investigator
E JJFLOOD@VIRGINIA.EDU
P 434.924.6534
M 434.964.8182
F 434.924.7431
University of Virginia
Title-IX Office
O'Neil Hall
445 RUGBY ROAD
CHARLOTTESVILLE, VA 22904-4211
eocr.virginia.edu/title-ix




                                             2
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                                                                            Exhibit 9

Diane Mathews

Subject:                         FW: CONFIDENTIAL TITLE IX COMMUNICATION


From: Flood, John J (jjf3y) [mailto:jjf3y@virginia.edu]
Sent: Monday, October 08, 2018 9:20 AM
To:
Cc: Rhonda Quagliana; Babb, Emily C (ecb6y); Title IX Coordinator
Subject: CONFIDENTIAL TITLE IX COMMUNICATION

                        :

I hope this email finds you well. Pursuant to the Procedures, the time frame
for completion of an investigation may be extended for good cause. Should
such an extension be necessary, it is our responsibility to notify both parties
in writing and provide the reason for the extension. Accordingly, we are
writing to you today to let you know that we are extending the anticipated
due date for distribution of the Draft Investigation Report in order to ensure
the integrity and completeness of the investigation into the information
detailed in the Notice of Investigation, of which you were informed on
August 8, 2018. Specifically, I am attempting to locate and interview
potential witnesses.

Please be assured that our goal is to resolve this matter as expeditiously
and thoroughly as possible. We remain available to answer any questions
you may have, and you also should feel free to contact the Title IX
Coordinator, Emily Babb, directly with any questions about the process at
titleixcoordinator@virginia.edu .


John J. Flood
John J. Flood
Investigator
E JJFLOOD@VIRGINIA.EDU
P 434.924.6534
M 434.964.8182
F 434.924.7431
University of Virginia
Title-IX Office
O'Neil Hall
445 RUGBY ROAD
CHARLOTTESVILLE, VA 22904-4211
eocr.virginia.edu/title-ix

                                                          1
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                                                                     Exhibit 9




                                      2
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                                                                                                         Exhibit 10

Diane Mathews

Subject:                           FW: Confidential University Communication - Draft Investigation Report (Time Sensitive)




From: Babb, Emily C (ecb6y) [mailto:ecb6y@virginia.edu]
Sent: Wednesday, December 19, 2018 12:30 PM
To: Rhonda Quagliana;
Cc: Title IX Coordinator; Flood, John J (jjf3y)
Subject: RE: Confidential University Communication - Draft Investigation Report (Time Sensitive)

Dear Rhonda and           ,

Thank you for your message. This will confirm receipt. Based upon the winter break, your office closure, the
conflicts with regard to        travel, and your personal family medical commitment, I will grant the
requested extension and provide until January 25, 2019 to respond to the Draft Investigation Report. Please
note that the complainant will be provided the same extension.

Best,
Emily

From: Rhonda Quagliana <rq@stlawva.com>
Sent: Tuesday, December 18, 2018 3:58 PM
To: Babb, Emily C (ecb6y) <ecb6y@virginia.edu>;
Cc: Title IX Coordinator <titleixcoordinator@virginia.edu>; Flood, John J (jjf3y) <jjf3y@virginia.edu>
Subject: RE: Confidential University Communication - Draft Investigation Report (Time Sensitive)

We have received the Draft Report.                   requires additional time to respond. He returned home yesterday. He
will be leaving for a trip with his family, planned well in advance, to travel out of the country on December 28 and will
return to            on January 9, 2019.

My office is closed from December 24 through January 1. We reopen January 2. I will be out of town at the Cleveland
Clinic dealing with a family medical issue on the 27th and 28th of that week and will be unavailable to assist      .

             will return to Charlottesville on January 13.

The investigation has taken nearly 5 months to complete. The Draft Report includes detailed information and
interviews.                 wishes to exercise his right to obtain guidance and advice from his advisor and to respond
fully. I will not be available for that purpose for much of the time he was given to respond due to the intervening
holidays, the closure of my office, and a personal family medical commitment involving an unwell, aging parent.

Also,              and his family had plans in place that will take him out of the country until January 9.

Given these rather extraordinary circumstances, including the duration of the investigation, we would respectfully
request additional time to respond. Given                 return on January 13, we would ask that you extend the
deadline to January 25 to provide             sufficient time to consider and evaluate the Draft Report and confer with
his advisor, which is his right.

Thank you,
                                                             1
        Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 72 of 92 Pageid#: 506
                                                                                                         Exhibit 10
Rhonda Quagliana


Rhonda Quagliana, Esquire
St. John, Bowling, Lawrence & Quagliana, LLP
416 Park Street
Charlottesville, Virginia 22902
(434) 296-7138
(434) 296-1301 Fax

Notice: This email may contain attorney-client privileged information, privileged work product, or other confidential
information. It is intended only for the designated recipient. If you receive this message and are not a designated
recipient you are requested to delete this message immediately and notify me that you have received this by
mistake. Thank you.



From: Babb, Emily C (ecb6y) [mailto:ecb6y@virginia.edu]
Sent: Tuesday, December 18, 2018 1:00 PM
To:
Cc: Title IX Coordinator; Flood, John J (jjf3y); 'Rhonda Quagliana'
Subject: Confidential University Communication - Draft Investigation Report (Time Sensitive)

Dear

Good afternoon and I hope this message finds you well. I am sending this message on behalf of John Flood. I
have attached an important document related to the Title IX investigation involving you for your review. You
may also access the document and the corresponding exhibits using the following link:



Please note that this is a time-sensitive communication, as you are being asked to respond, should you choose
to do so. The response is due to Mr. Flood, who I have copied on this message by January 7, 2019.
Additionally, please note that you will only be able to access the above link for the response period, up to and
including January 7, 2019, after which the link will be unavailable. If you have any additional questions or
concerns, please let me or Mr. Flood know.

Mr. Flood is currently out of the office and will return on January 7. If you require assistance during this time,
please contact me at ecb6y@virginia.edu or (434) 297-7988.

Best,

Emily

Emily C. Babb
Assistant Vice President for Title IX Compliance/Title IX Coordinator

O’Neil Hall
445 Rugby Road
Post Office Box 400211
Charlottesville, VA 22904-4211
434.297.7643
ecb6y@virginia.edu
Pronouns: she, her, hers
                                                                   2
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                                                                                               Exhibit 11

Diane Mathews

From:                              Flood, John J (jjf3y) <jjf3y@virginia.edu>
Sent:                              Friday, January 25, 2019 1:59 PM
To:                                Diane Mathews
Cc:                                Rhonda Quagliana;                              Babb, Emily C (ecb6y)
Subject:                           RE:



Ms. Matthews:

I am in receipt of the correspondence from Ms. Quagliana.


V/r,

JJF
John J. Flood
Investigator
Title-IX Office
E jjflood@virginia.edu
P 434.924.6534
M 434.964.8182
F 434.924.7431




From: Diane Mathews <dkm@stlawva.com>
Sent: Friday, January 25, 2019 13:48
To: Flood, John J (jjf3y) <jjf3y@virginia.edu>
Cc: Rhonda Quagliana <rq@stlawva.com>;
Subject:

Mr. Flood,

Please see the attached correspondence from Ms. Quagliana.

Should you have any questions, please do not hesitate to contact us. Thank you.

Sincerely,

Diane Mathews, Paralegal
St. John, Bowling, Lawrence & Quagliana, LLP
416 Park Street
Charlottesville, Virginia 22902
(434) 296-7138
(434) 296-1301 Fax


                                                             1
        Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 74 of 92 Pageid#: 508
                                                                                                      Exhibit 11
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      Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 75 of 92 Pageid#: 509
                                                                                        Exhibit 11
                                                                           James M. Bowling, IV
  ST. JOHN, BOWLING,                                                       Francis McQ. Lawrence
                                                                           Rhonda Quagliana
  LAWRENCE & QUAGLIANA, LLP                                                K. Jay Galloway
                                                                           OF COUNSEL
  ATTORNEYS AT LAW                      Tel: (434) 296-7138
                                                                           Francesca E. Fornari
  416 Park Street                       Fax: (434) 296-1301                RETIRED
  Charlottesville, VA 22902             www .stlawva.com                   George R. St. John



                                        January 25, 2019

 VIA EMAIL Ujf3y@virginia.edu]

Mr. John Flood
Title IX Investigator
University of Virginia Office for Equal Opportunity and Civil Rights
O'Neil Hall, 445 Rugby Road
Charlottesville, VA 22904

        RE:

 Dear Mr. Flood:

        To ensure its receipt by you,              has asked me to submit on his behalf
 his enclosed response to the Draft Investigation Rep01i.

        Please let us know if you have any questions and kindly confirm receipt. Thank
 you.




                                       Rhonda Quagliana

 RQ/dkm
 Enclosures

 Cc:




           James M. Bowling, IV: jmb@stlawva.com •Francis McQ. Lawrence: fml@stlawva.com
                 Rhonda Quagliana: rq@stlawva.com • K. Jay Galloway: jay@stlawva.com
                                  Francesca E. Fornari: fef@stlawva.com

Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 76 of 92 Pageid#: 510
                                                                                                         Exhibit 12

Diane Mathews

From:                              Flood, John J (jjf3y) <jjf3y@virginia.edu>
Sent:                              Thursday, February 7, 2019 2:22 PM
To:                                Rhonda Quagliana; 'Diane Mathews'
Cc:                                                                      Babb, Emily C (ecb6y)
Subject:                           RE:



Counselor:

Not a problem extending it to Wednesday 13 February, 2019.

V/r,

JJF
John J. Flood
Investigator
Title-IX Office
E jjflood@virginia.edu
P 434.924.6534
M 434.964.8182
F 434.924.7431




From: Rhonda Quagliana <rq@stlawva.com>
Sent: Thursday, February 7, 2019 13:49
To: Flood, John J (jjf3y) <jjf3y@virginia.edu>; 'Diane Mathews' <dkm@stlawva.com>
Cc:                                                             Babb, Emily C (ecb6y) <ecb6y@virginia.edu>
Subject: RE:

John: Thank you.                 would respectfully request 2 additional days to respond, given the intervening weekend
and that I am largely unavailable to him tomorrow. May he have until Wednesday the 13th to respond?
Rhonda


Rhonda Quagliana, Esquire
St. John, Bowling, Lawrence & Quagliana, LLP
416 Park Street
Charlottesville, Virginia 22902
(434) 296-7138
(434) 296-1301 Fax

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        Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 77 of 92 Pageid#: 511
                                                                                                      Exhibit 12

From: Flood, John J (jjf3y) [mailto:jjf3y@virginia.edu]
Sent: Thursday, February 07, 2019 12:44 PM
To: Diane Mathews
Cc: Rhonda Quagliana;                                        Babb, Emily C (ecb6y)
Subject: RE:

Ms. Matthews:

I have attached the Complainant’s response to your client’s DIR response for his and/or
your review. Please provide any comments, etc. by 11 February, 2019.

Thank you,

JJF
John J. Flood
Investigator
Title-IX Office
E jjflood@virginia.edu
P 434.924.6534
M 434.964.8182
F 434.924.7431




From: Diane Mathews <dkm@stlawva.com>
Sent: Friday, January 25, 2019 13:48
To: Flood, John J (jjf3y) <jjf3y@virginia.edu>
Cc: Rhonda Quagliana <rq@stlawva.com>;
Subject:

Mr. Flood,

Please see the attached correspondence from Ms. Quagliana.

Should you have any questions, please do not hesitate to contact us. Thank you.

Sincerely,

Diane Mathews, Paralegal
St. John, Bowling, Lawrence & Quagliana, LLP
416 Park Street
Charlottesville, Virginia 22902
(434) 296-7138
(434) 296-1301 Fax

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                                                             2
        Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 78 of 92 Pageid#: 512
                                                                                                      Exhibit 13

Diane Mathews

From:                             Diane Mathews <dkm@stlawva.com>
Sent:                             Wednesday, February 13, 2019 2:51 PM
To:                               jjf3y@virginia.edu
Cc:                               Rhonda Quagliana;
Subject:
Attachments:                      20190213145238861.pdf


Mr. Flood,

Please see the attached correspondence from Ms. Quagliana.

Should you have any questions, please do not hesitate to contact us. Thank you.

Sincerely,

Diane Mathews, Paralegal
St. John, Bowling, Lawrence & Quagliana, LLP
416 Park Street
Charlottesville, Virginia 22902
(434) 296-7138
(434) 296-1301 Fax

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      Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 79 of 92 Pageid#: 513
                                                                                       Exhibit 13
                                                                          James M. Bowling, IV
 ST. JOHN, BOWLING,                                                       Francis McQ. Lawrence
                                                                          Rhonda Quagliana
 LAWRENCE & QUAGLIANA, LLP                                                K. Jay Galloway
                                                                          OF COUNSEL
 ATTORNEYS AT LAW                      Tel: (434) 296-7138                Francesca E. Fornari
 416 Park Street                       Fax: (434) 296-1301                RETIRED
 Charlottesville, VA 22902             www .stlawva.co1n                  George R. St. John



                                      February 13, 2019

VIA EMAIL [jjf3y@virginia.edu]

Mr. John Flood
Title IX Investigator
University of Virginia Office for Equal Opportunity and Civil Rights
O'Neil Hall, 445 Rugby Road
Charlottesville, VA 22904

       RE:

Dear Mr. Flood:

     Please find enclosed                     additional comments and Response to
Complainant's written response.

       Please let us know if you have any questions and kindly confirm receipt. Thank
you.




                                      Rhonda Quagliana

 RQ/dkm
 Enclosures

 Cc:




          James M. Bowling, IV: jmb@stlawva.com •Francis McQ. Lawrence: fml@stlawva.com
                Rhonda Quagliana: rq@stlawva.com • K. Jay Galloway: jay@stlawva.com
                               Francesca E. Fornari: fef@stlawva.com


Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 80 of 92 Pageid#: 514
                                                                                                      Exhibit 14

Diane Mathews

From:                              Flood, John J (jjf3y) <jjf3y@virginia.edu>
Sent:                              Wednesday, February 13, 2019 3:21 PM
To:                                Diane Mathews
Cc:                                Rhonda Quagliana;
Subject:                           RE:



Thank you, I am in receipt of this correspondence.

All the best,

JJF
John J. Flood
Investigator
Title-IX Office
E jjflood@virginia.edu
P 434.924.6534
M 434.964.8182
F 434.924.7431




From: Diane Mathews <dkm@stlawva.com>
Sent: Wednesday, February 13, 2019 14:51
To: Flood, John J (jjf3y) <jjf3y@virginia.edu>
Cc: Rhonda Quagliana <rq@stlawva.com>;
Subject:

Mr. Flood,

Please see the attached correspondence from Ms. Quagliana.

Should you have any questions, please do not hesitate to contact us. Thank you.

Sincerely,

Diane Mathews, Paralegal
St. John, Bowling, Lawrence & Quagliana, LLP
416 Park Street
Charlottesville, Virginia 22902
(434) 296-7138
(434) 296-1301 Fax

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        Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 81 of 92 Pageid#: 515
                                                                                              Exhibit 15

Diane Mathews

Subject:                              FW: Confidential University Communication


From: Babb, Emily C (ecb6y) [mailto:ecb6y@virginia.edu]
Sent: Wednesday, May 01, 2019 3:03 PM
To:
Cc: Title IX Coordinator; Rhonda Quagliana
Subject: Confidential University Communication

Dear

I am writing on behalf of the Office for Equal Opportunity and Civil Rights (EOCR), that includes the Title IX
team that I oversee, to confirm that your degree will be held pending final resolution of the current Title IX
matter involving you. This action does not prevent you from participating in Final Exercises. Your name will be
included in the Finals Program, and you may participate fully in all ceremonies that will be held.

Please feel free to contact me if you have any questions related to this notification.

Best,

Emily

Emily C. Babb
Assistant Vice President for Title IX Compliance/Title IX Coordinator

O’Neil Hall
445 Rugby Road
Post Office Box 400211
Charlottesville, VA 22904-4211
434.297.7643
ecb6y@virginia.edu
Pronouns: she, her, hers




                                                                   1
        Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 82 of 92 Pageid#: 516
                                                                                                   Exhibit 20
                                                                                Exhibit 16

  From:
  To:             Flood, John J (jjf3y)
  Subject:        Verizon Bill (April 2017)
  Date:           Monday, April 29, 2019 12:27:40
  Attachments:                           .pdf


  Hi John!

  I've attached the bill from Verizon for April 2017, which shows that I did not make or receive
  any phone calls during the time period of the incident. Let me know if there's any other
  information you need from me.

  Best,




Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 83 of 92 Pageid#: 517
                                                                                                      Exhibit 17

Diane Mathews

From:                             Diane Mathews <dkm@stlawva.com>
Sent:                             Tuesday, May 28, 2019 3:49 PM
To:                               ecb6y@virginia.edu
Cc:                               'Rhonda Quagliana'; theaphy@virginia.edu; bmeek@virginia.edu;
Subject:
Attachments:                      20190528155252445.pdf


Ms. Babb,

Please see the attached correspondence from Ms. Quagliana.

Should you have any questions, please do not hesitate to contact us. Thank you.

Sincerely,

Diane Mathews, Paralegal
St. John, Bowling, Lawrence & Quagliana, LLP
416 Park Street
Charlottesville, Virginia 22902
(434) 296-7138
(434) 296-1301 Fax

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      Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 84 of 92 Pageid#: 518
                                                                                             Exhibit 17
                                                                             James M. Bowling, IV
 ST. JOHN, BOWLING,                                                          Francis McQ. Lawrence
                                                                             Rhonda Quagliana
 LAWRENCE & QUAGLIANA, LLP                                                   K. Jay Galloway
                                                                             OF COUNSEL
 ATTORNEYS AT LAW                         Tel: (434) 296-7138                Francesca E. Fornari
 416 Park Street                          Fax: (434) 296-1301                RETIRED
 Charlottesville, VA 22902                www .stlawva.com                   George R. St. John




                                           May 28, 2019

VIA EMAIL [ecb6y@virginia.edu]

Ms. Emily Babb
Assistant Vice President for Title IX Compliance/Title IX Coordinator
University of Virginia Office for Equal Opportunity and Civil Rights
O'Neil Hall, 445 Rugby Road
Charlottesville, VA 22904

       Re:

Dear Ms. Babb:

        To ensure its timely receipt,            asked me, as his advisor, to provide you
with his Response to the Final Investigation Report, which is due today. His response is
as follows:

        1.        I contest the finding of responsibility that I violated University Policy by
                  committing sexual assault.
       2.         I object to the statements of the Complainant and witnesses to the extent the
                  statements are used against me to support a finding of responsibility in the
                  Final Investigation Report ("FIR").
       3.         I provided a truthful account of the events, including a statement under oath
                  and on my honor as a student, that I had the Complainant's affirmative
                  consent. I provided this testimony under oath in the form of a sworn
                  affidavit.
       4.         The investigation was not fair and complete and I have not had an equal
                  opportunity to be heard, nor have I received sufficient notices under the
                  Policy.
        5.        The Draft Investigation Report ("DIR") issued in December did not contain
                  sufficient evidence for a finding of responsibility.
        6.        I received no notice that the investigation continued after what was
                  supposed to be the conclusion of the investigation.

             James M. Bowling, IV: jmb@stlawva.com •Francis McQ. Lawrence: fml@stlawva.com
                  Rhonda Quagliana: rq@stlawva.com • K. Jay Galloway: jay@stlawva.com
                                    Francesca E. Fornari: fef@stlawva.com
Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 85 of 92 Pageid#: 519
                                                                                 Exhibit 17

Emily Babb                           May28, 2019                              Page 2 of3


      7.     After issuing the DIR, the investigator took it upon himself and coordinated
             only with the Complainant to develop new evidence used to find me
             responsible. He did not work with me or reach out to my advisor to
             determine whether we had new or additional evidence relevant to the
             investigation.
      8.     The investigator then relied heavily on this new material - a friend of the
             Complainant who was known to the investigator in September 2018, and
             the phone records of the Complainant which were also available in August
             2018 - to find me responsible under the Policy.
      9.     I was provided no opportunity to address this new information developed
             with the Complainant over a period of months after the DIR had been
             issued, and it appeared the matter had fallen dormant and that the
             University was no longer pursuing the matter.
      10.    The investigator did not objectively evaluate the evidence and his
             inconsistent findings in the FIR reflect the lack of objectivity.
      11.    The FIR quotes at length the unchallenged opinions of a nurse examiner.
             The investigator provides no basis for ignoring outright the contrary
             opinion of a qualified expert who also examined the medical evidence in
             this case.
      12.    I had a right under the Policy not to participate or be interviewed, and my
             decision not to participate or be interviewed in the investigation cannot be
             used against me. The investigator violated the Policy, relying heavily for
             his finding of responsibility on what he perceived as my insufficient
             description of events in my affidavit. In addition, his findings show that he
             disregarded my truthful statements provided in an affidavit under oath, and
             credited instead an unswom interview of the Complainant.
      13.    Finally, the University lacks jurisdiction over this matter under its own
             Policy. The Complainant is not affiliated with the University in any
             capacity, as the investigator wrote in the FIR. No other provision in the
             Policy confers jurisdiction over this matter.

                                                  ***
      Should you have any questions, please do not hesitate to contact me.




Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 86 of 92 Pageid#: 520
                                                                    Exhibit 17

Emily Babb                          May 28, 2019                  Page 3 of3




RQ/dkm


Cc:   Timothy J. Heaphy, Esquire (via email)
      Barry T. Meek, Esquire (via email)




Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 87 of 92 Pageid#: 521
                                                                    Exhibit 18




Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 88 of 92 Pageid#: 522
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Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 89 of 92 Pageid#: 523
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Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 90 of 92 Pageid#: 524
                                                                    Exhibit 18




Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 91 of 92 Pageid#: 525
                                                                    Exhibit 18




Case 3:19-cv-00038-GEC Document 46-1 Filed 07/19/19 Page 92 of 92 Pageid#: 526
